Case: 1:17-Cv-09071 Document #: 1 Filed: 12/18/17 Page 1 of 91E,geiD i_ll E‘ Q/@”H
._ :::.: h

UN!TE|) sTATEs olsTRlcT CoURT Fon THE UEC 18 2017 94
NoRTHERN nlsrmc'r oF lLLINols THDMAS G_ BRUTO'N
EASTERN DIVISFON CLERK. U,S. D|STR[CT COURT
x

 

Student A. a Minor_ by her Mother and
Guardian. SUSAN KUTTNER,

Plaintiff(S).

v.

vALLEY view scHooL olsTRicT 3651), 1 :17-cv-09071

S_UPEI%IN_TEND'§NT D§L;i;?§;§;x§TCHEI\/I <Jr-) Judge Andrea R. wood
iii;elicitilvl:l§i:::ioi'n:fo$itudent Servicesi‘Administrator Magistratedudge M- David weisman

ERICA EKSTROM (in her individual and official capacity).
Defendant{_s}.

 

X

M
NOW COMES the Plaintiff._ SUSAN KU'I`TNER, Pro-Se` filing this complaint on behalf
of her daughter Student A (as an appeal of the ISBE School Administrative Due Process Hearing

Decision) against the above named Det`endants states as follows:

!ATUR§ OF THE ACTLC_)B
l. This action is brought pursuant to and arises under lndividuals with Disabilities Education Act
(IDEA), Title 20 U.S.C. § 1400 et seq. (§ |400-1415 et seq.) and also under Americans with
Disabilities Act (ADA). Plaintif`f` seeks an injunction in Student A`s favor against Defenclant
Valley View School District 365U in Will County._ lL regarding Student A`s educational
placement under FAPE, Free and Appropriate Education (LRE) to be assigned to her home
school in her Least Restrictive Environlnent. LRE. Plaintit`f also seeks damages to redress

Dei`endants` actions related to Plaintii"f Student A against 2 Defendants on an individual basis.

Case: 1:17-Cv-09071 Document #: 1 Filed: 12/18/17 Page 2 of 91 Page|D #:2

JUR|SD|CT|ON AND VENUE

. This C.ourt has jurisdiction over the subject matter of this action under lndividuals with
Disabilities Education Act (“IDEA"`), Title 20 U.S.C. § 1400 et seq. (§ 1400-1415 er seq.) and
also under Americans with Disabilities Act (“`ADA"`) & under Title 42 U.S.C., Section 1983
and the lllinois School Code, 105 ILCS 5114-8.02a et seq, Venue is based on Def`endants
located in Will County, IL.

Plaintit`t` Kuttner fulfilled all conditions precedent to the institution of this action under IDEA
Title 20 U.S.C. & Title 42 U.S.C., Section 1983 & Arnericans with Disabilities Act (ADA} &
105 ILCS 5114-8.02a(i)

Pursuant to 105 lLCS 5!14-8.02a(i). this APPEAL (civil action`) is brought in Federal eourt,
competent jurisdiction, within 120 days after a copy of the decision was mailed to the parties.
Plaintift` timely filed this Complaint and commenced this lawsuit within 120 days after the IHO
issued her ISBE Due Process Hearing DecisionfRight to Sue Letter (Exhibit A)

. The IHO issued a ISBE Due Process Hearing Decision letter dated August 21, 201?, a copy of
which is attached hereto as Exhibit A.

Plaintitlcs attempted to resolve issues with the Defendants to no avail. and Plaintit”€s have
exhausted their administrative remedies in the IL State Board of Education Due Process

Hearing August 201 'i',

THE PART|ES
Plaintiff Student A is a MINOR and a Valley View School District 365U Student with multiple
disabilities, including ADHD. She resides with her Mother, Susan Kuttner, in Will County_.

IL.

8.

10.

ll.

Case: 1:17-Cv-09071 Document #: 1 Filed: 12/18/17 Page 3 of 91 Page|D #:3

Plaintin SUSAN KUTTNER (hereinafter “Kuttner"`), is a female who resides in Wili County.
lllinois, and who is the Parenthother and Guardian of Plaintiff Student A.

Defendant, Valley View School District 365U (_hereinafter "District"`) is a public entity
recognized and sanctioned by the laws of the State of Illinois. Further, Valley View School
District 365U is an indispensable party, in that, it funds District Schools; thus, it is required to
pay a judgment entered against the Defendants.

Det`endant, Superintendent Dr. J ames Mitchem (Jr.) (hereinat`ter “Superintendent“) is and has
been the Valley Vicw School District 365U Super'intendent since 201 l.

Det`endant` Executive Director of Student Services Erica Ekstrom (hereinafter "Ekstrom"’) is
the Valley View School District 365U Adniinistrator and District’s representative at the
August 2017 ISBE Due Process Hearing. Ekstrorn is and has been in this position from prior

to 2015 to present as Executive Director of Student Services.

PROCEDURAL REQU|REMENTS

.Plaintift` Kuttner fulfilled all conditions precedent to the institution of this action under

lndividuals with Disabilities Education Act (IDEA), Title 20 U.S.C. § 1400 et Seq. (§~ 1400-
1415 er seq.] and also under Arnericans with Disabilities Act (ADA), and Title 42 U.S.C.,

Section 1983-1988.

, Pursuant to 105 ILCS 5)'14-8.02a(i). this APPEAL (civil action1 is brought in Federal court_,

competent jurisdictions within 120 days after a copy of the decision was mailed to the parties.
Plaintii”l1 timely filed this Complaint and commenced this lawsuit within 120 days after the ll-IO

issued her ISBE Due Process Hearing Decision!Right to Sue Letter (Exhibit A}

15.

16.

l?.

19.

21.

Case: 1:17-Cv-09071 Document #: 1 Filed: 12/18/17 Page 4 of 91 Page|D #:4

. The lHO issued a ISBE Due Process Hearing Decision letter dated August 21 , 201 '?, a copy ot`

which is attached hereto as Exhibit A.

Plaintiffs attempted to resolve issues with the Defendants to no avail, and PlaintiFf`s have
exhausted their administrative remedies in the lL State Board of Education Due Process
Hearing August 2017 as required by 20 U.S.C. § 1415(1_`}. Theret`ore, Plaintit`t` hereby invokes
said laws as basis of claim(s).

Panies also participated in multiple unsuccessful ISBE Mediations prior to the August 2012

ISBE Due Process Hearing.

BACKGROUND
At all times relevant, Plaintit`fs have resided in Will County and the Valley View School

District 365U boundaries

. Plaintiff` Student A was diagnosed ADHD in the Fall of 2015, immediately after the Valley

View Sehool District 365U Violations began in August2015. See Plaintiff’s ISBE FOUNDED
Complaint dated ?-31-1? for Substantiated violations during Plaintit`t"s Kindergarten year:
August 2015-January 2016 with roughly 'i'-10 FOUNDED violations by Valley View School
District 365U which caused Student A’s (ongoing_) environment

At all times relevant, Plaintiff Student A had additional diagnosed disabilities.

. Plaintift` has been following in good faith all the rules and regulations and procedures (admin)

of ISBE and the District (and the school Board)
An administrative Hearing was held over 4 days on August 'i', 8, 9, & 1 l, 201’?. IHO {Hearing

0fficer`) issued the Decision (on which this Appeal and Filing is based) on August 21, 201?.

22.

24.

23.

Case: 1:17-Cv-O9071 Document #: 1 Filed: 12/18/17 Page 5 of 91 Page|D #:5

At all times relevant, Valley View School District 365U Superintendent Dr. James Mitchem
(.Il‘.`) and Administrator Executive Director of Student Serviccs Erica Ekstrom have been

employed by the Det`endant District in their said positions.

. . Ekstrom was the Distriet representative or "‘Administrator"` attending and involved with the

August 201 '1 ISBE Due Process Hearing where Plaintif‘f alleged witness tampering (Exhibit
D)

Throughout Plaintii`i` Student A`s attending her home school with the Defendant(s)` School
District._ Det`endants have discriminated against her based on Plaintift`s' Disabilities and Race

and Asserting Plaintiffs" rights.

. Despite Plaintiff"s repeated complaints orally and in writing for Two (2) years_. little had been

done to resolve the problem(s). For several years, Det`endants have violated laws and

regulations

. Plaintit`fs were injured by the Defendants as stated below.

CAUSE OF ACT|ON
lNDlVlDUAl_.S WlTH DlSABlLlTlES ACT (lDEA)
TITLE 20 U.S.C. 5 1400 et Seg._(_§ 1400-1415 et seg.. & 8 4400 et seg)_

& AMER|CANS WlTH DlSABILlTlES ACT (ADA}

. Plaintiffs repeat paragraphs 1 through 26, as though stated herein.

The school district breached duties created under the lndividuals with Disabilities Education
Act (IDEA) and the Americans with Disabilities Act (ADA} which directly and proximater
resulted in Plaintit"'l" Student A"s Due Process Hearing & Hearing Decision & Placement

change, injuries, etc.

30.

33.

34

Case: 1:17-cv-O9071 Document #: 1 Filed: 12/18/17 Page 6 of 91 Page|D #:6

. IDEA covers “any matter relating to the identification._ evaluation_. or educational placement of

the child_, or the provision of a free appropriate public education to such child."` 20 U.S.C. §
1415(b)(1)(E)

IDEA requires children with disabilities are provided "a free and appropriate education which
emphasizes special education and related services designed to meet their unique needs." 20

U.S.C. § 4400(€)

. Plaintiffs have exhausted their administrative remedies in the lL State Board of Education Due

Process Hearing August 2012 prior to bringing this suit, as required by 20 U.S.C. § 1415(1).

Theret`ore, Plaintiff` hereby invokes said laws as basis of claim(s).

. Plaintiff filed a Due Process Colnplaint in January 201?' which was amended twice with 2"d

Arnended Colnplaint on 3-28-17. (Exhibit B)
On August 21, 2017, IHO issued her Decision in Favor of the District. The Placement change
for Plaintiff Student A violated FAPE in LRE under IDEA Title 20 U.S.C. §
l4l4(d)(l)(A)(i)(I)-(V) where "‘(Student will not participate with Non-Disabled peers in a
regular class.`)""
The six (6) lssues raised by the Plaintiff raised in the Due Process Hearing were:

1 . FAPE - Free and Appropriate Education, January 201 'l' primary Due Process filing

(& April 2012 - See #5 below) & LRE - Least Restrictive Environrnent

go

Social Work Minutes Increase

3. lsolated Timeout

4. Co-TaughtClassroom and 1:1 Full-time Aide

5. District failed to provide a Proper Plan in Place in the Fall 2016, beginning

September 2016

Case: 1:17-cv-O9071 Document #: 1 Filed: 12/18/17 Page 7 of 91 Page|D #:7

6. I-Iomebound Denial April 2012 (FAPE Z“d Count Placement Issue)

35. The August 2013r Due Proeess l-Iean'ng Issues primarily dealt with ONE Main issue, which is
Plaintift` Student A’s Placement.

36. The six (6) lssues were sent to an administrative Hearing. IHO (Hegr_'_i_gg Officerl erred in_3

ways as follows:

1 . Denial oi` evidence repeatedly submitted and requested by Plaintii’F in the August Hearin g

by IHO not considering the FOUNDED ISBE Complaint dated '?-31-1? which proved

Det`endants` violations, against Student A, creating the (continued) environment which

negatively affected Student A.

l~..}

Witness Tampen`ng by Det`endants with Witness Cipriano (Exhibit D) Plaintiff"s motion
was denied by lHO
3. Subpoenas (See ExhibitF):

i. Subpoenas were not issued in a timely manner by ll-lO over several weeks and
several witnesses did not appear or were not produced by Defendants, as
categorized in B & C below

ii. Several Former Employees of the Defendants who were called via Subpoena as
Witnesscs did not appear under subpoenas

iii. Two (2) Witnesses still employed by the District were not produced
3'1'. Failure to produce witnesses denied Plaintist right to examine the witness, causing further

grounds t`or appeal. Defendants denied Plaintit`t` Due Proeess.

38.

39.

40.

41.

42.

Case: 1:17-cv-O9071 Document #: 1 Filed: 12/18/17 Page 8 of 91 Page|D #:8

Prehearing Conferences were held on July 6“‘ & 19“1. Plaintiff repeatedly asked ll~lO for timely
subpoenas, but Subpoenas took roughly another 10 days or more after Plaintif‘f`s requests
Allnost all the Subpoenas were issued ~August 3, 2017 for appearances August 7-1 1, 201?.
Plaintifi` was denied Due Process.

Ultimately, 2 current (_August 2017) District employees and more than 5 former employees did
not appear under Subpoena or under guaranteed production by District for the August 7-11,
2017 Due Proeess Hearing.

Exhibit E Cites the lL Compilatioo of School Discipline Laws and Regulations which
includes the regulation that District Trainers (for lsolated Timeout and Rcstraint) be trained
within the preceding 1 year. Violations in the 7-31-17 ISBE Founded Complaint (Exhibit C)
that should have been considered by the Hearing Ofiicer in her decision as it addressed
violations by the Defendant District of not properly identifying the trained (trainers) staff1
regarding certifications to perform restraint or isolated timeout on the [’laintif`f` Student A.
Violations were found, but not considered by Hearing Ofiiceri‘ll-IO. Training issues see
Exhibits E, regarding testimony and at least 3 stat`t`mernbers" admissions that they were either
not aware ot` the Regulation f`or training within l year to be a trainer or admissions that they as
trainers have not been trained in about 2 years and "2-3 years."'

See Exhibit C (3 page l 1-21-11' letter) where lSBE rnay withhold District’s Part 13 funding and
school recognition due to non-compliance with ISBE orders for corrective action related to
training in Restraint. etc.

Further violations of Isolated Timeout and Restraint by District can be found under

Requirernents for the Use of Isolated Time Out and Physical Restraint {23 lAC 1.235}l

Case: 1:17-cv-O9071 Document #: 1 Filed: 12/18/17 Page 9 of 91 Page|D #:9

43. IHO did not allow the ?'-31-1 ? evidence of Defendants" violations to be entered into evidence.

to be considered, or to exam witnesses regarding the violations in the August 201 '? Hearing.

44. Similarly, Violations in the ?-31-1? ISBE Founded Complaint (Exhibit C) that should have

been considered by the Hearing Offlcer in her decision as it addressed violations by the

Defendant District of 34 Code of Federal Regulations, §300.116(a-e), which states in part

In determining the educational placement of a child with a disability, including a preschool

child with a disability, each public agency must ensure that»

a)

b)

c'}

el

The placement decision-

1) ls made by a group of persons, including the parents1 and
other persons knowledgeable about the child, the meaning of`
the evaluation data, and the placement options;

The child"s placement-

l) ls determined at least annually;

2) ls based on the child's IEP; and

3) ls as close as possible to the child's home;
Unless the IEP of a child with a disability requires some other arrangement,
the child is educated in the school that he or she would attend if
nondisabled;
In selecting the LRE, consideration is given to any potential harmful effect
on the child or on the quality of services that he or she needs; and
A child with a disability is not removed from education in age-appropriate
regular classrooms solely because of` needed modifications in the general

education curriculum.

45.

46.

47.

48.

49.

50.

51

Case: 1:17-cv-O9071 Document #: 1 Filed: 12/18/17 Page 10 of 91 Page|D #:10

Similarly_. Violations in the ')'-31-17 ISBE Founded Cornplaint (Exhibit C) that should have
been considered by the Hearing Off`lcer in her decision as it addressed violations by the
Defendant District of 34 Code of Federal Regulations, §300.324(a)(l)(ii), which states:
a) Development of lEP-

11 General. In developing each ehild‘s lEP, the IEP Team must consider-

ii) The concerns of the parents for enhancing the education of their child;
In- addition to the ?-31-1'? violations, ll-IO did not grant Plaintist Motion to Strike due to
Det`endants’ witness tampering (Exhibit D)
Plaintiffs contend that the Defendants influenced the testimony of Miss Cipriano following
witness M.W."s testimony which was favorable to Plaintiffs" case.
Cipriano's testimony was not credible and mischaracterized and contradicted other
testimonyfevidence in District's favor.
After M.W. testified with evidence (recordings supplied by District) favorable to the Plaintiff
regarding isolated timeout and admissions by Cipriano_, Cipriano testified correcting or
covering up testimony regarding her admissions of isolated timeout performed on Student
A. Ci`priano's testimony was not credible and led to Cipriano arguably admitting incompetence
in her position.
Plaintiff also testified about witness tampering Plaintiff argued motion to Strike (Exhibit D)

to no avail.

. Cipriano also testifred in contradiction of student A's Doctor's (MD) statements, letters_. and

testimony The Doctor`s consistent letters before and after his testimony (August 201 ?) &
before and after a phone conversation with Cipn`ano contradicted C.ipriano's testimony

signifu.:antlyl Given the witness tampering and Cipriano's testimony being not credible the

10

53.

54.

55.

56.

57.

Case: 1:17-cv-O9071 Document #: 1 Filed: 12/18/17 Page 11 of 91 Page|D #:11

IHO should have stricken Cipriano's entire testimony and any and all transcripts of testimony

by Cipriano.

' . Despite Plaintifl`s complaints in writing and orally, the Defendants failed to respond in any

corrective or preventative manner. Defendants continued to violate laws and regulations ln
fact, District continues to not comply with the 7-31-1? Corrective action ordered by ISBE as
Evident in the 11-21-1'? ISBE letter where training is still an issue and ISBE (after multiple
deadlines which District has not complied with`) states the District’s School recognition and
Part B funds (in part or in full) may be withheld. (Exhibit C - 3 page letter)

Despite Plaintift`s written and many verbal requests to keep Plaintiff Student A in her horne
school, LRE, Defendants repeatedly failed to support Student A and changed Student A’s
placement repeatedly.

Throughout Plaintiff Student A’s attending her home school with the Det`endant(s)" School
District, Defendants have discriminated against her based on Plaintiffs’ Disabilities and Race
and Asserting Plaintiffs’ rights.

Defendants acted knowingly, intentionally, williillly, and maliciously.

ME§
Plaintiff Susan Kuttner had to Withdrawa] Plaintiff Student A from special education due to
substantiated violations, continued environment_. and continued violations by Defendants and
due to Plaintiff Student A"s resulting medical state and Medical Providers’ recommendations
and ongoing injury.
As a direct and proximate cause of Defendants` actions and practice, Plaintiffs have sustained

and continue to sustain severe financial darnages, including but not limited to loss of income,

11

58.

59.

60.

61.

Case: 1:17-cv-O9071 Document #: 1 Filed: 12/18/17 Page 12 of 91 Page|D #:12

lioss of Enjoyment of Life, attomey’s fees, costs, and other damages allowed under lndividuals
with Disabilities Education Act (IDEA), 'l`itle 20 U.S.C. and also under Title 42 U.S.C. Section
1983-1988.

As a direct and proximate cause of Defendants‘ Actions and practice, Plaintiffs have sustained
and continue to sustain severe emotional distress anxiety._ humiliation, defamation of
character. damage to reputation, pain and suffering financial stress._ bodily harm, physical
inj ury, embarrassment and depression caused by Defendants and other damages allowed under
lndividuals with Disabilities Education Act (IDEA), Title 20 U.S.C. and also under Title 42
U.S.C. Section 1983-1988.

Plaintiffs were seen by Doctors_. therapists and urgent care for the physical injuries Additional
physical, emotional, mental or psychological injury_. distress etc. were witnessed by
Plaintiff(s) and medical professionals

Plaintiff continues to suffer emotionally and psychologically.

Defendants` (intentional) conduct has damaged Plaintiffs. Defendants should be ordered to

compensate Plaintiff and provide Compensatory and Punitive Damages

WHEREFORE, Plaintiffs respectfully request This Court lssue Orders declaring and

granting the following Relief:

l. Injunctive Relief- Court order issuing an injunction to return Student A"s placement to her
home school under special Education;

2. Vacate Student A"s Placetncnt outside of her home school. returning her placement to her
home school;

3. Vacate ll-IO Due Proeess Hearing Decision;

12

Case: 1:17-cv-O9071 Document #: 1 Filed: 12/18/17 Page 13 of 91 Page|D #:13

ll.

12.

Any future placement changes f Significant lEPf 504 changes that PlaintiffsfParent disputes
must be recommended by an outside psychologist or specialist who is approved by Student
A` S Parent and who is permitted by Defendants to observe Student A routinely at the school
setting Defendant District will pay for the outside provider;

That this Court lssues an order declaring that Defendants Valley View School District
365U to cease segregation of Plaintiflildisabled Students (Placement changes`) and the
District follow the law in changing placement (Placement Violations) of individual
Students according to law 34 CFR § 300.116;

That this Court orders Defendants to cease harassment and retaliation against Plaintiffs and
similarly situated Students/Parents or ot`Plaintit`fs" associates by Defendants:

That this Court awards Plaintiffs compensatory damages against the Defendants:
Defendants jointly and severally. in such amount as may be found to be sufficient to
compensate Plaintiffs for the Damages described above and below. District is liable for
damages while Damages against Individual Superintendent and Ekstrom are also
appropriate;

That this Court awards Plaintiffs in an amount found to be sufficient for Defendants'

intentional violation of IDEA 20 U.S.C. (S 1400 et See.) or ADA;

.That this Court awards Plaintif`fs in an amount found to be sufficient for Defendants’

intentional violation of IDEA 20 U.S.C. (§ 1400 er Seg.l or ADA;
That this Court awards attorney's fee pursuant to IDEA 20 U.S.C. (§ 1400 etSeq.] er ADA
and any further applicable law;

That This Court awards Plaintif`f for Punitive Damages against the Defendants;

13

Case: 1:17-cv-O9071 Document #: 1 Filed: 12/18/17 Page 14 of 91 Page|D #:14

13. A judgment in Plaintiffs" favor and against the Defendants in the amount of 53 Million
($3,000,000) for Lifetime Compensation;
14. A judgment in P|aintiffs’ favor awarding Plaintiff the costs of this action;
15. A judgment in Plaintiffs` favor awarding such other and further relief that This Court
deems just and proper.
JURY TRIAL IS REQUESTED
Dated: December 13, 201 '?' Respectf`ully submitted,

Susan Kuttner1 Parent. Pro-Se
P.O. Box 5162

Wheaton_. lL 60189
866-751-6233

Rovalrcalestate l tlti:-'vahoo.com

14

Case: 1:17-cv-09071 Document #: 1 Filed: 12/18/17 Page 15 of 91 Page|D #:15

Exhibit List

 

EXH|B|T A

EXH|B|T B

EXH|B|TC

EXH|BIT D

EXH|B|T E

EXH|B|T F

lHO (Hearing Officer) Decislon August 21, 2017 (23 Pages)

Origina| Due Proeess Fi|ing (January 2017) - Not attached
2"d Amended Complaint Attached (March 28, 2017) (4 Pages)

lSBE FOUNDED Complaint 7-31-17 (27 pages)
(Not considered by |HO) & 11-21-17 (3 pages)

1 Page |EP note also included (7-31-17 evidence)

|Vlotion to Strike Testimony of Cipriano (3 Pages)
RE: Witness Tampering

Compi|ed Statutes Regulations (Trainers trained within 1 year)

Excerpts (8 Pages)

Subpoenas (Documents, List, & emai|s regarding Subpoenas)

15

Case: 1:17-cv-09071 Document #: 1 Filed: 12/18/17 Page 16 of 91 Page|D #:16

Exhibit List

 

EXH|B|TA

EXH|B|T B

EXH|B|T C

EXH|B|T D

EXHIB|T E

EXH|B|T F

|HO (Hearing Officer) Decision August 21, 2017 (23 Pages)

Origina| Due Proeess Fi|ing (January 2017) - Not attached
2"d Amended Comp|aint Attached (March 28, 2017) (4 Pages)

ISBE FOUNDED Complaint 7-31-17 (27 pages)
(Not considered by |HO) & 11-21-17 (3 pages)

1 Page |EP note also included (7-31-17 evidence)

Motion to Strike Testirnony of Cipriano (3 Pages)

RE; Witness Tampering

Compi|ed Statutes Regulations (Trainers trained within 1 year)

Excerpts (8 Pages)

Subpoenas (Documents, List, & emai|s regarding Subpoenas)

15

Case: 1:17-cv-09071 Document #: 1 Filed: 12/18/17 Page 17 of 91 Page|D #:17

ILLINOIS STATE BOARD OF EDUCATION
lMPARTlAL DUE PROCESS HEARING

 

Student1
Casc No: 2016-0213
v.
_ Impartial Hearing Officer
Valley View CU SD 365 U.
School District.

 

FINAL DECISION AND ORDER

lURISDICTION

The undersigned hearing officer has jurisdiction over this matter pursuant
to the individuals with Disabilities Education Act (IDEA), 20 U.S.C. § 1400 et seq.,
the lllinois School Code, 105 ILCS 5 / 14-8.0221 et seq., and her appointment as
hearing officer by the lllinois State Board of Education (lSBE) on january 25,
2017.

PROCEDURAL BACKGROUND

 

The parent filed an initial complaint in this matter on january 19, 2017 and
amended complaints on ]anuary 23*1‘ and March 28“1.‘ On May S*]‘, the parent
filed a new complaint, which raises an issue of denial of homebound placement,
and that complaint was consolidated with Case 2016-0213. The parent, who is
representing herself and the student, is also Worl<ing With an advocate, -
- The district is represented by _
_

 

' The district filed an expedited due process request

 

RECEIVED 8/21/2017 - SPEClAl_ EDUCATION SERVICES

A

Case: 1:17-Cv-09071 Document #: 1 Filed: 12/18/17 Page 18 of 91 Page|D #:18

The parties participated in mediation

Prehearing conferences for this matter Were held on july 6th and july 19th
by telephone Conference call. Several lengthy status conferences Were held after
july 19th to address questions about hearing-related matters, including several of
the parent's proposed Witnesses and requests for subpoenas The hearing was
closed, pursuant to the parent's request

The parties entered the following joint stipulations at the start of the

IJ"
FD
m
’.'_.*.
3
953
,_.\
33 |
’_]
’,3"
I"`D

parties are also in agreement With respect to the individual's representations
regarding Witness Qualifications including: Staff Narne, Educational
Bacl<ground and Licenses, Worl< E)tperiences and Role/ Responsibilities, attached
hereto as E>chibit D.

ln rendering this decision, the undersigned has considered all documents
and expedited transcripts entered into evidence, testimony by parties' Witnesses,
the parties’ closing arguments and their suggested case law, as well as the
hearing officer's independent researchl There was no transcript of this hearing
issued at the time this decision was rendered, so this decision is based on the
hearing officer's notes, the documents entered into evidence, and the law
applicable to the issues raised in this matter. This decision is issued within ten
days after the hearing's conclusion, as required by lllinois IaW. 105 iLCS
5/148.02a(h).

RECEIVED S/Zl/?,()l 7 - SPECIAL EDUCATION SERVICES

Case: 1:17-Cv-O9071 Document #: 1 Filed: 12/18/17 Page 19 of 91 Page|D #:19

IssUEs AND REQLIF.STED Rl~:Msolss

The parent's Complaint, as amended and consolidated, raises the
following issues for hearing:

1. Whether the district's proposed change of placement -

_ School provides the

student with a free appropriate public education (FAPE) in the least
restrictive environment (LRE).

2. Whether the student's behavioral needs require increased social Work

minutes from _ as saved in the

january 10, 2017 IEP.

3. Whether the student requires isolated time-out as part of her Behavior
Intervention Plan (BIP).

4. Whether the student requires placement in a co-taught classroom (i.e.,
both regular education and special education teachers) and a 121
fulltime aide to meet her educational needs.

5. Whether the district failed to provide a proper place for the student
When she became escalated or needed time/ space to cool down during
the school day, from September 2016 through November 9, 2016;

6. Whether the student required homebound services as of April 2017

and if so, whether the district's denial of homebound services denied
the student a FAPE.

As remedies for the above-alleged denials of the student's right to receive
a FAPE, the parent requests an Order directing the district to:

1. Provide a stay-put placement at _

2. lmplement the acceptable portions the student's lEP/ BIP;

3. Remove isolated time-out from the student's IEP/ BIP;

RECEIVED 3/21/20| 7 - SPECIAL EDUCATlON SER\/ICES

Case: 1:17-Cv-O9071 Document #: 1 Filed: 12/18/17 Page 20 of 91 Page|D #:20

-Revise the student's IEP to reflect placement in a co-taught general

education classroom at the student’s home school, _

lnclude the following accommodationsr supports, services, equipment

E._J`l

and assistance necessary to meet the student's educational needs -

including her _
- and OHI:

a. 1:1 full-time aidez;

b. Accommodations, including: preferred seating, extra time, extra
Warnings, extra help, extra bathroom breaks and classroom
breaks, repeating instructions, allowing the student time / space
to respond or perform, allow student to be extra “teacher's
helper" or periodically assign her preferred tasks to do, provide
staff nearby when the student is in line and during times of
heightened activity / conflict;

c. Fewer modifications and more accommodations or
alternatively for the district to pay for outside OT, social Worl<
therapies the student is receiving;

d. Equipm@nt _

e. Room to be available for student to use in extreme behavioral
circumstancesf as needed for her to calm down;

f. Staff changes;

g. Fle)<ible social Worl< minutes, _

depending on the student's needs;

 

3 'Fo ensure clarity in the record, thel parents’ complaint asks that the aide be someone other than -
_ Because of the hearing officer's ruling that she has no authority over the district’s personnel
decisions, that specific portion of the request is not included in the remedy

RECEIVED 3/21/20l7 - SPE-CIAL EDUCATlON SERVICES

Case: 1:17-Cv-O9071 Document #: 1 Filed: 12/18/17 Page 21 of 91 Page|D #:21

h. Push-in services for related services (_ rather

than pull-out services;

i. Removal of smiley-chart from student's BlP and less student
involvement in data collection/ documentation;

j. Weekly notes, summaries sent to parent of behavioral
information, including records for antecedents, events
before / during/ after CPl, escalated states, use of cool down
space;

k. lmmediate notification to parent by email and telephone when
student is escalated;

rn. Allow the student extra time for snacks, lunch, etc.; and,

n, Ensure all staff are properly trained and qualified, all
substitutes and non»teaching staff who have extensive contact
with student are trained, qualified, informed of the student's
BIP and how to handle the student

FINDINGS or FACT

After considering all the testimonial and documentary evidence entered at
hearing, as well as both parties' arguments, the undersigned makes the following
factual determinations

1. When - began first grade in Fall 2016, she was eligible for special

education and related services under the categories of _
and other health impairment SD 28. She was placed in a regular education
classroom full-time and received related services: _
_ so 54. The IEP also required a classroom aide

ld. Although there was a co-teacher in the classroom at that time, that person
was assigned to provide academic instruction to a specific student and thus
aid nor work with -. Tr, 308-311

RECElVE.D 8/?.1/2017 - SPECIAL EDUCATION SERVICES

Case: 1:17-Cv-O9071 Document #: 1 Filed: 12/18/17 Page 22 of 91 Page|D #:22

go

The IEP team met on Septernber 20, 2016 to review -'s IEP. SD 28. The
parent, student's grandmother and parent's advocate attended the meeting,
the latter by telephone SD 29. -. met both her hearing and social work
goals and was making academic progress in reading, math, and writing. SD
31. A crisis plan was developed to address unsafe behaviors, and it includes
removing the student from her group in certain situations through the use of
CPl transport to a quiet space until she is calm. SD 53. lt also includes a
provision that if the student is a danger to herself or others physical restraint
may be used, and the mother must be notified per district policies ld. lt also
includes a provision that if the student shows significant aggression and
unsafe behaviors for more than 30 consecutive minutes or if there is a high
risk of harm assessment, the team may call SASS to evaluate the student and
notify the parent. ld.

Ms. L., the classroom teacher, was concerned about - peer relationships
based on her perception that other students _ Tr. 323. She
was also concerned that - did not look like she had a good day even when
external signs - e.g., her behavior chart - showed that she had. Tr. 324. -
demonstrated several concerning behaviors in class, including _

_
_ Ti» 326-
Although - was intellectually capable of working at grade level, she did
not always complete all her work and also had trouble producing
independent work. Testimony, Ms. L. Ms. L. made accommodations for her,
such as writing her work for her and allowing her time to do preferred
activities ld. Ms. L. worried that - might not be able to keep up with the
school work in light of her behavioral struggles Testimony, Ms. L

Ms. F. was assigned as a classroom aide to the student's first grade classroom
and thus was "a resource to all the students" not just - Tr. 312. -'s
behaviors became more defiant and aggressive over the school year. Tr. 340,
346. She had problems with her peers

_ - and also with Ms. F. Tr. 340-342. Other concerning
behaviors include _
_ Tr- 341-345

- also began to demonstrate problematic behaviors in regard to her related
services When her related service providers arrived for push-in or pull-out

eereieee, _ iii li She did leave ilie

RECEl\/ED 8/21/'2017 - SPECIAL EDUCATION SERVIC`ES

Case: 1:17-Cv-O9071 Document #: 1 Filed: 12/18/17 Page 23 of 91 Page|D #:23

dam w a related w _

_ ld. This emotional dysregulation was "a huge struggle since
October." SD 98.

7. -rewrud mu»ihh@mud@_
_ that ~_
- ld. The IEP team agreed that she needed _
__ ld. The emotional dysregulation impacts

-’s ability to participate in her related services la'.

8. The student's outside social worker reported that _
_ has
difficulty verbalizing her feelings ld. _

9. In October and November 2016, - began to refuse to go to her sessions

with MS. R, _ 1a ; rr. 264, zos, sis, 341. MS. k. has worked
With - since she was in the early childhood program. Testimony, Ms. R.
The eiuiieni wee _
_ to hap ha be mason a nw

need for continual revision continues through the present as - needs and
behavior have ”peal<s and valleys." ld.

10, Following the flexible model she had developed with -. over time, Ms. R.,
began offering sessions within the classroom Testimony, Ms. R_

_ to provide "push-services" to the student within the

classroom. SD 318, 372, 378, 386, 397.

ii- - lied refueeii in se _

November 91, 2016 and january 10, 2017. SD 103.

12. Ms. M. has provided social work services to the student for two years Tr. 272.

lo the fall of 2016, She worked with _
_ Tr. 273. Ms. M. noted a change in -

RECEIVED 8/21/2017 - SPECIAL EDUCATION SERVICES

Case: 1:17-Cv-O9071 Document #: 1 Filed: 12/18/17 Page 24 of 91 Page|D #:24

13,

14.

16.

beginning in October 2016, when the student refused to go to her social work

sessionsl Tr. 276. Ms. M. also reported a _
_ wi w

increase in her aggression. Tr. 277. Because of the student's refusal to
participate in pullout sessions Ms. M. added push-in services within the

classroom for _. Tr. 278.

Ms. M. was involved in the crisis interventions for - which began in Fall
2016. SD 278. tier involvement ”varied by day" and significantly increased
over the months to about _ as memorialized in -'s
january 2017 IEP and Ms. M.'s service logs SD 101, 283; SD 137-143, ln
uswa w _ en ue-
_ SD 140. ln December, her time spent
_- SD 141-

The student received consult _ in school from Ms. B. 'l`r,
83 (1655). A number of_ were provided in the classroom for
- fe use as needed, e-s- _
_ Tn 83» 871 38
<1.655, 1651 inner inure _
_ throughout the school aay. n_ 87 (iose). _
_
_
_
_

. When Ms. B. reviewed the data with staff to determine _

_ helped decrease the student's problematic behaviors, they
round the data inconclusive rr. ss (iooo). _
_- in 89 (1661)- _
_ and staff consider that “an emotional kind of
wing technique _
_ l end iney agreed ihei -
_
_
_ SD 90 (1662).

Ms. C., the district's behavior interventionist who heads up the team that

works with - has a background in behavior intervention _

RECEl\/ED 3/21/2017 - SPEClAL EDUCATION SERVICES

Case: 1:17-Cv-O9071 Document #: 1 Filed: 12/18/17 Page 25 of 91 Page|D #:25

17.

18.

19.

_ rs 105, 106 (sr) 1291, 1292). she worked

with - in kindergarten and was assigned full~time to her classroom. TR
108 (SD 1294). She reviews -'s behavior charts and documentation to
ensure that behavior is correctly documented and provides feedback to staff
who work with -. (TR 110, SD1296). The student's behavior had stabilized
in the Spring of her kindergarten year, and the team began to plan for -
first grade year. TR 111 (SD 1297). Ms, C. met with the staff that would work
with -. in first grade to discuss the student's behavior plan and also
worked in the classroom to model how to implement the plan. ld. She met
with the student's team bi-weekly and reviewed her behavior charts daily. ld.

Ms. C. reported that - had changed from kindergarten to first grade, when

-'s aggressive behaviors have increased over her first grade school year. ln
the fall, she was redirected multiple times during the school day for
behaviors such as interrupting the teacher, refusing to join the group, laying
down on the carpet, not following directions not lining up with the class, and
being disrespectfull SD 221-225.However, she was able to remain in the
classroom throughout the day. ld,

ln October, her aggressive behaviors

SD 226-
276. She also required significantly more redirections beginning in October.

lti. On October 12"1, she walked out of the classroom and was aggressive
toward staff and unresponsive to their redirect'ions. SD 242~244, The staff
shared the student's behavioral charts with the parent via email so that she
was continually updated - behaviors so 667-679, 682-711

-s behavior notably changed in November, _

RECEIVED 8/21/2017 ~ SPECIAL EDUCATION SERVICES

Case: 1:17-Cv-O9071 Document #: 1 Filed: 12/18/17 Page 26 of 91 Page|D #:26

l\.)
l\.J

. Between October and December, staff had to physically restrain -

numerous times SD 576-617.

t . The lEP team, including the parent and her advocate, met again on

November 911‘. SD 68. - had refused to attend _

_. The parent requested a more specific crisis plan and

did not want the student moved to rooms that might contain unsafe items or
furniture the student could hide under. SD 87. District staff reported that -
was not responding to any choices or preferred adults la', The mother
requested a specified place that - could use when she needed a break. ld.
The student had been “ requesting breaks to avoid work, and she has a

difficult time returning from break.” ld. _
_- SD 91- District duff did nei

identify a specific room to which - would be taken when in crisis because

RECE]VED 8/21/2017 - SPE.CIAL EDUCATION SERVICES

Case: 1:17-Cv-09071 Document #: 1 Filed: 12/18/17 Page 27 of 91 Page|D #:27

the space needed to be determined by her needs Testirnony, Ms. C. However,

the ”418 reem" Wee frequently ueed_
_ Me- C-: Me- M.

-Pioneer does not have an isolated time out (ITO) room per the definition of an
ITO room; however, some staff used terms such as isolated time out and low

genuineroomimerchang@ably_

_ fe Eeeh incident required

physical restraint and transport to contain the student’s aggression toward
staff. SD 581-600,. The student's behavioral charts were provided to the
parent via email. SD 712-756.

26. - was physically restrained on December 13Lh after not complying with

multiple redirections from staff _
_ so 603. she Was held twice in a cPl

child hold. ld. Prior to the incident, the student had been un-engaged most of
the day and had stated that she Wanted to go home rather than to girl scouts
or daycare. SD 610.

27. The parent took - to the doctor on December 15th because she Was
concerned that the student Was injured during the recent restraintl PD 167,
168. According to the doctor's note, - ”lateral scapula back area tender to

feueh- _
_ PD 167-

RECEl\/ED 8/21/20] 7 - SPECIAL E.DUCAT_ION SERVICES

Case: 1:17-Cv-09071 Document #: 1 Filed: 12/18/17 Page 28 of 91 Page|D #:28

23 The next dale December 14“‘» _
_ SD 614- Steff physically restrained

her and transported her out of the classroom. SD 613-617.

29. The lEP team, including the parent and the student's grandmother, met on
january ll}, 2()17. SD 94, 95. The parent’s advocate attended by telephone SD
97. The emdenr'e meade _. so 95.
Academically, - Was doing Well: she had mastered all of the l-"'* grade sight
words and was reading at an end of let grade level. SD 97. She also was

Working at grade level in math. SD 103. _

_- SD 103- She

Was able to read 200/ 200 first grade site Words and Was Worl<ing at grade

30. ,

ry »_i
§§ §
m€ 3
gm ._.
o§ 5
se a
ins il
ne
f'D .
E¢-r --4
mg F‘“
`F`§
:T‘
f'D
l-e
2
m
UJ
f')
o
::
E"d
t"D
l'"l
s
E"D
D..
cr
f'D
n
m
c
m
E"D
2
DJ
U’.`l
t"}
:,~
o
o
E.
:s
tro
:
o
l_$'
¢-¢-
o
ch
o
:r
FD
l-f.

RECEIVED 8/21/20l7 - SPE.ClAL EDUCATION SERVICES

Case: 1:17-Cv-O9071 Document #: 1 Filed: 12/18/17 Page 29 of 91 Page|D #:29

-Flie IEP team recommended isolated time out as a behavioral intervention
that Would be appropriate

so 1342, 1343 (P_ 156, 157). - deee net
have an isolated time out (ITO) room. SD 1344 (P. 158)._does have
an ITO room. la'.

33. After reviewing the student’s educational and emotional status, the IEP team
discussed placement options The district recommended a change of
placement to _ School, where she Would be placed in a regular
education program for her academic subjects would receive all of her current
related Services, and would also receive support in the community class SD
99. The community class has a teacher, social Worl<er, and two
paraprofessionals. SD 99._3150 has an isolated time out room,
which could be used if -'s behavior severely escalates ld.

34. In February and March 2017, the student'S

_. She had received early intervention services, so the

educational impact on academic success is limited Testimony, Ms. S. Tr. 226

RE.CE]VED 8/21/2017 ~ SPEC`IAL EDUCATION SERVICES

Case: 1:17-Cv-O9071 Document #: 1 Filed: 12/18/17 Page 30 of 91 Page|D #:30

36.

37.

(SD 1412)- _
_ Tr. 262. She has a " good command of

language" and would be able to communicate her frustration Tr. 243 (SD
1429).

. The parent filed a complaint with the district office on February 28“‘

regarding how "she perceived that her daughter. .. was being treating by staff
and the DCFS complaint that she lodged against (Ms. M) regarding the
injuries (the parent) believes happen to (the student) as a result of c'ontacts
with (Ms. M.). PD 223; SD 160. The complaint officer spoke with the parent,
observed for two days in the student's classroom, interviewed staff, reviewed
school records, and also reviewed DCFS and police records Based on his
investigation, the complaint officer found that - ”appears to have a good
working relationship with (the classroom aide) and responds to her no
differently than she does to any other staff member. Additionally, (the
classroom aide) treats (the student) in a similar manner to all other students
in the classroom and there is no mistreatment towards (the student). The
injury concerns that were investigated by DCFS and _ Police were
unfounded with both departments concluding that there was no evidence of
wrongdoing After completing a thorough investigation into (the parent's)
concerns, it has been determined that the evidence supports the findings that
were reported by DCFS and _ P.D., and that there is insufficient
evidence to support (the parent’s) claims of abuse or wrongdoing toward (the
student) by any staff member." PD 233.

- was suspended for one day at the end of February 2017. PD 236, 239. She
also was suspended from school for one day, March 1633 _

_ PD 252-

An IEP meeting was held on April 17,'~;.2[}17, pursuant to the hearing officer's
expedited hearing order in Case 2017-0281. SD `11]38. The parent was notified
of the meeting by email and telephone but did not attend. ld.,' SD 1019. The
parent confirmed that she had received the meeting notice on April 13“1. Sl_`)
1038. The IEP team amended the student's january IEP to "reflect placement
in CARES full time with access to Comrnunity Class supports .. in addition to
her related services and transportation." SD 1038.

. On April 19“‘, the mother requested homebound services for - and

included a medical certification as a basis for her request SD 1136, 1142. The

RECEIVED 8/21/2017 - SPECIAL EDUCATION SERVICES

Case: 1:17-Cv-O9071 Document #: 1 Filed: 12/18/17 Page 31 of 91 Page|D #:31

district held an lEP meeting on April 28th to review her request SD 1057. The

parent reported that - ”_ needed homebound for

“stabilization until she can return to school." ld., SD 1079. The student was

_ per her pediatrician’s order and diagnosis of

ADHD. SD 1053.

_ iti-

39. The student's pediatrician, Dr. T., talked with school staff by telephone and
completed the medical certification for homebound services SD 1079; SD
1091. The certification indicates that the student has _
_ ld. lt also states that - "has been very anxious & oppositional
at school," ld. Dr. T. informed the school that - was "easily redirected in
his office” and that he wanted her to have programming that included
” positive feedback." SD 1079. Dr. T. had neither spoken with school staff nor
observed - in school prior to writing his homebound request. Testimony,
Dr. T. He also has never seen -. in her horne setting ld. All his information
about the School, the student's programming and the alleged basis of the
student's injuries

__ ld. He was aware that the district was trying to ”adjust"

- educational program. l
. la'.

-Dr. T. did not make the diagnosis of _ which is included on

the hemebeuud tequeet l_

42. The IEP team reviewed the placement options - general education 80% or
more of the day; the _ 80% or more of the day in special
education; and, homebound instruction ld. After a discussion of -'s
educational needs, the placement list was revised to general education
without support, general education with community, - and
homebound. ld. After considering the options and parent's concerns and

RECEl\/ED 8/21/2017 - SPECIAL EDUCATION SERVICES

Case: 1:17-Cv-O9071 Document #: 1 Filed: 12/18/17 Page 32 of 91 Page|D #:32

medical certification, the district determined that the _ is the
appropriate program to meet - needs and is also her least restrictive
environment SD 1080. The district denied the homebound request ld.

45. The parties have stipulated to the educational background, licenses and work
experience of district staff who work with - ]oint Stipulations, Exh. D.,
IHO Record. Some staff testified to their CPI training: A,R.'s most current CPI
training was in March 2016; -R (_ Asst. Prn.) CPI trained and all

staff are CPI certified; M.L. August 2015 CPI trained and attending

training in two weeks, for 2-year retraining; C.S. CPI trained 9.21.15 and will
be re-trained in September 2017,' M.A.-S., trained as CPl trainer 6.15; ].l\/l. CPl

RECEIVED 8i’21,t’2()l7 - SPECIAL EDUCATION SERV[CES

Case: 1:17-Cv-O9071 Document #: 1 Filed: 12/18/17 Page 33 of 91 Page|D #:33

training fall 2016; E.B., CPI trained fall 2016; M.W. CPI trainer,- last training 23
years ago; L.C. 4 day CPI trainer course 10.16.

46. At the close of the hearing, the parent made a oral motion, asking the hearing
officer to strike all testimony give by the district's behavior interventionist
L.C. The motion is based on the parent’s assertion that the witness "had met
and discussed testimony related to Isolated Time Out with District/ Counsel."
Motion, p.1. The parent asserts that district's counsel tampered with the
witness and influenced her testimony in the district's favor. ld. The Motion
also asserts that the conduct of districts counsel is unethical ld. The hearing
officer orally denied the parent's Motion to Strike.

CONCLUSIONS OF LAW

Based on the above factual findings the parties' arguments and the
undersigned's own legal research, the hearing officer’s legal conclusions are as
follows:

Whether the lanuarv 10, 2017 IEP's proposed change of placement to the

selfcontained - program at _ School provides the student with a

free appropriate public education (FAPE) in the least restrictive environment

(LRE)P;

The IEP offered to a student must provide “ an educational program
reasonably calculated to enable a child to make progress appropriate in light of
the child's circumstances." Endrerzl l~`. ri. Doiiglas Cnty. Sch. Dist. RE-I, 137 S. Ct.
988, 1001 (2017) (”Endrew F.”). The adequacy of an IEP ”turns on the unique
circumstances of the child for Whom it Was created." fit A students IEP must
include: a statement of the student's present levels of academic achievement and
functional performance; the measureable goals designed to meet the students
needs that result from the student's disabilities; a description of the student's
progress toward meeting the goals; a statement of the special education and
related services that will be provided to the student; and the extent if any, to

 

l lt is noted for the record that the january 2017 IEP changes the students placement to _ in the
community class and regular education rogram. After the expedited hearing the students lEP was
updated to reflect placement in the program, ursuant to the hearing officer’s Order. The April 2017
IEP memorializes the students placement to the i program full-time As memorialized in the
rehearing conference reports the issue is whether the proposed change of placement to the

program at Wood View School provides the student with a free appropriate public education in the
least restrictive environment That is the issue discussed during the initial and final prehearings, and thus is
the issue at hearing

RECEIVED 8/21/2017 - SPECIAL EDUCATION SERVICES

Case: 1:17-Cv-O9071 Document #: 1 Filed: 12/18/17 Page 34 of 91 Page|D #:34

which the student will not participate with nondisabled peers in a regular class.
20 U.S.C. §1414(d)(1)(A)(i)(l)-(V). The parent’s complaint in this case focuses on
the last requirement the extent to which - will not participate with her
nondisabled peers in a regular education class

The student's january 10th ]EP indicates that although - was doing
well academically, was at grade level in reading and math, and was making

progress on _ her academic and functional levels of performance

had denver ii zu, e»u _
_ itu Sue

tried to accommodate her refusal to attend related services by changing the times

they worked with her and by providing services in the classroom; however, -
had difficulty with the push-in services and often declined to participate ld. She

§
DJ
us
E
,_)
f`l>
13
UQ
m
UQ
f`D
Cl-.
§.
.':._."
¢_J
’:l"
m
'-¢
m
F`l
’,3"
O
.O_
2
0
»-1
7`_.
20
§
Q.

The student's emotional and behavioral needs increased throughout her
first grade year and despite changes in service delivery, increased related service
time, and intense behavioral support and intervention, the evidence supports a
finding that -'s needs cannot be appropriately met in the general education
setting Betli B. rt. l/riii Clay and Lrili'e Bliij§f$clioul District #65, 282 F.3d 493, 498 (7“n
Cir. 2002); Board qudiicntioii of To'¢'itnslii`p Higli School District No. 211 it. Mi`clmel R.,
2005 WL 2008929, pp. 18, 19 (August15, 2005). She was receiving little
meaningful benefit from her general education placement or her related services

RECEIVED 8/2 l/2017 » SPECIAL EDUCATION SERVICES

Case: 1:17-Cv-09071 Document #: 1 Filed: 12/18/17 Page 35 of 91 Page|D #:35

a conclusion that the general education

setting is no longer an appropriate placement for her. _
_ Sh€ also Will receive the Same

related services and minutes as is required in her ]anuary lEP. She will have the
opportunity to participate with her peers in the general education environment
as the IEP team decides is appropriate Therefore, the evidence supports a
finding that the - program at - with participation in the general
education setting as the IEP team deems appropriate, is the student's least
restrictive environment

Whether the student's behavioral needs require increased social work minutes,
rom as stated in the Ianuary 10, 2017
IEP.

|

 

The evidence shows that the school social Worker noted Concerning

Chanses in the Swdenf'$ _

l12. Ms. M. was part of the crisis team, and the increased service minutes reflect

:'.
m
,_,.
17
m
,_,_
m
:"
m
m
m
:.
¢:
.Cl.
-<
rt
D..
,...,
:
n
:.
EL’.
m
m
§_.
m
:.
0
.3
g
|_\
l

Whether the student requires isolated time-out as part of her Behavior
Intervention Plan (BIP).

The evidence shows that the student's behavioral needs increased in both
scope and intensity throughout the 2016-17 school year. 115, 6, 13, 18-23, 25, 26.
The staff's efforts to contain and address her behavior changed as over the school

_ M- The

team considered isolated time out was considered at the january 2017 IEP
meeting, focusing on the function of the - behavior ‘ll3l. Because the
student's behavior is attention seeking, the team determined that isolated time

REC`EIVED 8_/21/2017 - SPEC[AL EDUCATION SERVICES

Case: 1:17-cv-O9071 Document #: 1 Filed: 12/18/17 Page 36 of 91 Page|D #:36

euf Weuld address the need _

_ ld. Based on this evidence, the undersigned finds that isolated time
out is required as part of the student's BIP,

Whether the student requires placement in a cio-taught classroom (i.e., both
regular education and special education teachers) and a 1:1 full-time aide to meet
her educational needs.

 

 

The Co-teacher in - first grade classroom was a special education
teacher Who provided instruction to a special education student in the classroom.
111. - does not have any academic/ learning special education needs that
require a special education teacher, e.g., a learning disability or an intellectual
disability Therefore, under the [DEA, there is no basis for her to have a special
education teacher. The classroom aide, who was not assigned specifically to -
did Spend time with - 115. However, the parent has produced no evidence
showing that -. needed an individual aide.

Whether the district failed to provide a proper place for the student when she
became escalated or needed time/ space to cool down during the school dav,
from September 2016 through l\lovember 9, 2016.

Prior to the significant increase in aggression and intensity of the student's
behaviors in Novernber, the staff were able to address the student's behavioral
needs through increased services and change in service delivery. _

_ 121 The
team frequently used the 418 room as the designated calm down space and
_ Thue» the

evidence supports a finding that district did not fail to provide a proper place for
the student to de-escalate.

Whether the student required homebound services as of April 2017 and if So,
whether the district's denial of homebound services denied the student a FAPE.

lllinois special education regulations require that when a child id unable
to attend school due to a medical condition that will cause an absence for two or

RECEIVED 8/21/2017 - SPECIAL EDUCATION SERV]CES

Case: 1:17-cv-O9071 Document #: 1 Filed: 12/18/17 Page 37 of 91 Page|D #:37

more consecutive weeks, the IEP team shall the need for home services 23 IAC
§226.300(a), (l)). The request for homebound must include a physician’s
statement that Specifies: “the child’s medical condition; the impact on the child's
ability to participate in education (the child’s physical and mental level of
tolerance for receiving educational serv ices); and, the anticipated duration or
nature of the child's absence from school." 23 IAC §226.300(b)(1-3). A district
must conduct an IEP meeting when presented With a doctor's request for
homebound instruction and determine Whether the student's current IEP is
reasonably calculated to allow the student to make appropriate progress in the
students least restrictive environment or whether a more restrictive placement is
necessary Qiiestiorzs mid Answers on Proi»idi`iig Sen:iices to Cliflciren with Disabilities
Diiring tire H 1N1 Oiitfircak, 53 IDELR 269 (OSERS 2009). Homebound is the most
restrictive placement on the continuum of special education placements and
should be provided ” only in those limited circumstances when they cannot be
educated With other children even With the use of appropriate related services
and supplementary aids and services.” DOE Coiiiiiientary to Stdipart E, §300.551
(IDEA Reauthorization). Homebound services should be provided only when "a
more normalized process of education is unsuitable for a student who has severe
health restrictions Departiiicnt of Educah`on, State of Hmvm`i' ii. Kcitlierz`ne D., 55
IDELR 276, 727 F.2d 809, 818 (9*" Cir. 1983), cert. denied, 471 U.S. 1117, 112 LRP
25887 (1985).

ln Marslmll ]oiiit School District #2 v. C.D., 54 IDELR 307, 616 F.3d 632 (7th
Cir. 2010) (Marsliall), the court held that ”a physician's diagnosis and input on a
child's medical condition is important and bears on the team's informed decision
on a student's needs....But a physician cannot simply prescribe special
education; rather the Act dictates a full review by an IEP team composed of
parents, regular education teachers, special education teachers, and a
representative of the local education agency.” lt is concerning that the district
was first informed of the student's bipolar disorder and medications prescribed
for the disorder in the doctor's homebound request 1141. As testified to by the
pediatrician, bipolar disorder is ”an common diagnosis for a child" of - age.
1140 Additionally, Dr. T. had not spoken with school staff about his concern's
regarding the student's educational needs prior to requesting homebound. 1139
His knowledge of the student’s school performance was _
_
__ ld. While the doctor's input is important and must be considered
as part of the homebound request, a doctor may not "prescribe special
education.” See, Marslmll. The evidence shows the district reviewed the
physician's request and the placement options, including homebound. After that

RECEIVED 8/21/20l 7 - SPEClAL EDUCATION SERVICES

Case: 1:17-cv-O9071 Document #: 1 Filed: 12/18/17 Page 38 of 91 Page|D #:38

review, the district determined that the - program is the student's least
restrictive environment and thus denied the homebound request. 1[42. Based on
the foregoing facts, the undersigned finds that the denial of homebound services
in these circumstances was appropriate and not the students least restrictive
environment

ORDER

IT 15 ORDERED THAT:

The district shall convene an IEP meeting within 10 school days of receipt

of this Order to revise the student's IEP to include:

5_\

go

- Pleeemeet in the - Presrem et _

A plan to familiarize the student with her new placement prior to
beginning at - including but not limited to visiting the
program and school, meeting staff, and developing tools to help the
student make a successful transition to the new placement, e.g., social
stories, maps of the school, familiarizing her with the new bus route and
driver;

Provision of 20 hours of consultation by an independent licensed clinical
psychologist with experience in evaluating children with behavior and
emotional needs and psychiatric diagnoses such as this student has. The
independent psychologist shall be chosen by the district and parent
together; however, if the parties are unable to reach agreement on the
selection, the district shall make the final selection after considering the
parent's input The independent psychologist shall review the student's
educational records, observe the student in the - placement, have
access to the - staff and other educational providers that s/ he finds
are necessary to understand this student’s educational needs. The
independent psychologist shall also have access to the student's treating
physicians, including the psychiatrist, and the parent shall authorize that
access in whatever forms are required by the district and physicians

After the independent psychologist concludes the observations records
review, consultations with medical professionalsF and Whatever else the
psychologist finds is necessary to understand this student's needs, the
district shall convene an IEP meeting to discuss the independent

REC'EIVED 8/2]/20] 7 - SPECIAL EDUCATION SERVICES

Case: 1:17-cv-O9071 Document #: 1 Filed: 12/18/17 Page 39 of 91 Page|D #:39

psychologists review and recommendations and to incorporate the
recommendations agreed upon by the parties or, if there is no agreement,
the recommendations that the district determines are necessary to provide
the student a free appropriate education

Within 45 calendar days of receipt of this Order, Valley View Community
Unit School District 365U shall submit proof of compliance with #1 and #2 of this
Order to:

lllinois State Board of Education
Program Compliance Division
100 North First Street
Springfield, lllinois 62777-0001

Within 30 days of compliance With #3 and #4, the district shall submit
proof of compliance with those provisions to the ISBE.

REQUEST FOR CLARIFICAT[ON

Either party may request clarification of this decision by submitting a
Written request for such clarification to the undersigned-hearing officer within
five (5) days of receipt of this decision. The request for clarification shall specify
the portions of the decision for which clarification is sought, and a copy of the
request shall be mailed to the other party(ies) and the lllinois State Board of
Education. After a decision is issued, the hearing officer may not make
substantive changes to the decision. The right to request such clarification does
not permit a party to request reconsideration of the decision itself, and the
hearing officer is not authorized to entertain a request for reconsideration

RlGHT ro APPEAL
This decision is binding on the parties unless a civil action is timely
commencedl Any party to this hearing aggrieved by this final decision has the
right to commence a civil action With respect to the issues presented in the
hearing. Pursuant to 105 ILCS 5/14-8.02a(i), that civil action shall be brought in
any court of competent jurisdiction Within 120 days after a copy of this decision
is mailed to the parties.

ISSUED: August 21, 2017

 

lmpartial Hearing Officer

RECE|VED 8/2]/20] 7 - SPECIAL EDUCATION SERVICES

Case: 1:17-Cv-O9071 Document #: 1 Filed: 12/18/17 Page 40 of 91 Page|D #:40

March 28, 2017

Super`mtendent James Mitchcm Jr.
755 Dalhart Ave.
Romeoville, IL 60446

lllinois State Board of Education
Special Education Compliance Division
100 North First Street

Springiield, lllinois 62777-0001

RE: _ and Valley View School District #365

Z“d AMENDED

Request for Due Proeess Hearing

 

Name of student: _, *‘Student”

Student’s Addrcss:

Date of Birth: -

Name of Parenthegil Guardia& Susan Kuttner, Mother, pro-se presently

 

releghone Number: _ x 866-751-6233 (Phune;ravaoicemain

is currentl attendin her home school at:
Elementary School,

Dear Superintendent James Mitchern Jr. & Mr. _.,

l hereby file this 2"d AMENDED REOUEST FOR DUE PROCESS HEARING.
adding paragraphs A9-10. BB-Q. C6-10 regarding Aides. Co-taught, and Isolated
Timeout changed Janua§y 10, 2017.

This letter is a request for a due process hearing as described in the Indivi‘duals with

Disabilities Educan'on Improvement Acr of 2604 (IDEA). l seek leave to amend this
complaint at a later date should additional information become available.

. ?)

Case: 1:17-cv-O9071 Document #: 1 Filed: 12/18/17 Page 41 of 91 Page|D #:41

l previously FILEI) FOR A DUE PROCESS HEARING distinng the Placement
change in the .lanu__arv 10.. 2017 IEP/"BIP. a_nd an AMENDMENT filed Februarv
2017 for social work minutes. Therefore I now file this 2'“l NEW DUE PROCESS
FlLING (3"‘i filing in total) TO ADITINOALLY DISPUTE THE JANUARY 10,
;017 Aides. tro-taught classroom. and Isolated Timeout.

1 request that current lHO [Hearing Ofiic.erl _ be appointed for this

NEW dl_ie process proceeding and ren_lain IHO assigl_ied to our far_nilv’s proceedings

l hereby invoke Stay Put for . The Sta Put Placement for the Stgdent will be
at her cl_irrent pl_a_cement in her home school Elementar where she has

attended since she began Kindergarten 1 '/z years ago.

A. F actual History[Nature of the Problem:

(Home) School

 

 

 

 

 

is 6 % years old and in lSl grade at

   
 
 

 

 
  

is diagnosed with ADHD and mixed disorders
is under the care oi` doctors to determine specific diagnoses t`or: -

5. IEPfBlP meetings conducted on: Septernber 20, 2016, (October lS, 2016 with
which resulted in a proposed!withdrawn amendment)_. November

9, 2016, January 10. 2017

6. Parent attempted to work with the lEP _ school team to help - by
revising the BlP, making a clear plan for -_. proposing and requesting changes
to staffing assignmentsfstafffaide etc.

?. Parent objects to the Student’s Placement change

8. Student`s minutes for social Work were also changed in the .lanuary 10, 201?
meeting and Parent objects to the increase roughly from _ minutes for
social worker.

9. Student's lEP!IP also changed in the .Ianuary 10, 2017 to add Isolated
Timeout (at

I(I. Student has never been assigned to a co-taught classroom nor has she had a
one-on-one, full-time aide.

B. Issues & Description of the Dispute:

l. - IEPKBIP meeting conducted on Septernber 20, 2016 did not have a
specific plan for de-escalation With positive BIP in - BlP and Parent
requested more detail and specific location, plan, etc. to be written more clearly
for times that - acts out. In response District`s _ arranged to
meet Parent on October 18, 2016

Case: 1:17-cv-O9071 Document #: 1 Filed: 12/18/17 Page 42 of 91 Page|D #:42

l`-.)

C.

On October 18, 2016 Parent met with _ which resulted in a proposed
and immediately withdrawn amendment Parent had asked for a more specific
plan to identify rooms, tactics, etc. and the District instead wrote a more vague
general crisis lan allowing them to call police!ambulance for behavior
management of with more lenient guidelines which was not acceptable to
the Parent.

On November 9, 2016, school district #365 and the - Elementary school
IEP team changed - BIP despite Parent"s objections The District added to
the BIP crisis plan and under disci linary measures that they may use
policefambulancefdistrict policy in BIP. This was not acceptable to
Parent.

ln Mediation .lanuary 1?, 201?, Parent and District did resolve the Due Proeess
involving the November 17_, 2016 Due Proeess Filing and herein l have
withdrawn that Due Proeess which stemmed from the November 9, 2016 IEP!Bll'-‘
Parent NOW disputes the Placement change in the Januarv 10` 20lel IEPIBIP.
Therefore,_Parent now files this NEW DUE PROCESS REOUEST TO DISPUTE
THE JANUARY 10` 2017 PLACEMENT CHANGE.

immediately following the lEP BIP school/’District decision to change Student’s
placement on January 10_ 2016, Parent requested the District attempt multiple
other options in leiu of the placement change in the same meeting However,
District refused

Student"s minutes for social work were also changed in the .lanuary 10, 2017
meeting and Parent objects to the increase roughly from - minutes for
social worker. Parent wishes to review these minutes through the Due Proeess
proceedings

Student’s IEP/IP also changed in the Januar_v 10_, 2017 to add Isolated
Timeout (at _). Parent objects to use of Isolated Timeout.

Student has never been assigned to a co-taught classroom nor has she had a
one-on-one, full-time aide. Parent hereby requests both to support Student
at her home school - in her LRE. Parent additionally asked District to
change the staff member serving Student and replace the classroom Aide to
another staff member.

Proposed Resolution:

l am seeking the Hearing Of`ficer to order the following:

!-..}

Student’s Placement shall remain in her eneral education class at her home
school which she currently attends at Elementary School. The district
will provide Student with any and all additional supports including
accommodations1 services, equipment_. stal’ti‘aides!staft` changes!one-on-one

aide1 and assistance necessary to su ort and accommodate Student"s -
-, ADHD, *. as disabilities m-
OHI!ED qualifications

'l`he acceptable portion of Student’s lEPfBIP be implemented to included the

agreed upon verbage.

Case: 1:17-cv-O9071 Document #: 1 Filed: 12/18/17 Page 43 of 91 Page|D #:43

3. Stay put will be implemented and - Elementary School (her home
school) will be the stay put Placement for the duration of the due process
hearin roccss.

4. Clear permanent school record as appropriate and reasonable

5. Student`s minutes for social work will be adjustedfchanged according to
Parentfll-IO to a number of minutes between _ minutes for the social
worker.

6. Student be assigned a l-on-l Aide

7. Student be assigned a full time Aide

8. Student he assigned an Aide other than Miss _

9. Student be assigned to a co~taught classroom in her General Education
home school

10. Isolated timeout remains removed from Student’s IEPfBlP

Thank you ibt your time and consideration in this matter. Please confirm receipt and

continue to assign IHO _

Sincerely,

 

866-751-6233 (PhonefFaxf\/oicemail)

cc: IHO (Hean'ns Ofacer) _ & _

Superintendent J ames Mitchem Jr.
Erica Ekstrom, District Rep.
, Parent Advocatc

Case: 1:17-cv-O9071 Document #: 1 Filed: 12/18/17 Page 44 of 91 Page|D #:44

lllinois State Board of Education

100140:1|1 Firsl$treer ‘ Spnngf.eld_ lllinois 62?'?7_0001
w\vw.isbe.net

Jame¢ T. like-ks lony Smith, Ph.D_
Cheirmsn State Su,oenarende-nlof Educ arron

 

 

July 31, 2017

Director of Specia| Ed ucatlon
Va||ey View Community Unit School District 3650

Romeovi||e, |L 60446

and

Superintendent

valley View Community Unit School District 365U
755 Da|hart Avenue

Romeovil|e, |L 60446

Rer _ Colnplaint

Case Number_
Dear_r
The lllinois State Board of Education, Specia| Education Services Division, has completed
its investigation of the complaint lodged by in regard to the special

education services
Authority for conducting this investigation is the |ndividua|s with Disabilities Education Act,
P.L. 108-446, 34 CFR, 300.151 - 300.153,

The review focused on the following requirements

34 Code of Federal Regulations, §300.116(a-e), which states ln part
ln determining the educational placement of a child with a dlsablllly, including a preschool
chlld with a dlsablllly, each public agency must ensure lhat- a ) The placement decision-
1) ls made by a group of persons, includan the parents and other persons
knowledgeable about the chlld, the meaning of the evaluation data, and the

placement options;

Case: 1:17-cv-09071 Document #: 1 Filed: 12/18/17 Page 45 of 91 PagelD #:45

b) 'l'he child"s placement-
t) ls determined at least annualiy,'
2) ls based on the child's lEP; and
3) ls as close as possible to the child's home;
c) Unless the lEP of a child with a disability requires some other arrangement the child
is educated in the school that he or she would attend it nondisabled,'
d) ln selecting the l_RE, consideration is given to any potential harmful effect on the
child or on the quality of services that he or she needs; and
e) A child with a disability is not removed from education in age-appropriate regular
classrooms solely because of needed modifications in the general education
curriculum

34 Code of Federal Regulations, §300.324(a)(1)(ii), which states a)

De velopment ot lEP-
‘l) General. ln developing each child's lEP, the lEP 'l'eam must consider-
ii) The concerns of the parents for enhancing the education of their child;

23 illinois Administrative Code, 1.285, which states in part

isolated time out and physical restraint as detined in this Section shall be used only as

means of maintaining discipline in schools (that is, as means of maintaining a safe and

orderly environment for learning) and only to the extent that they are necessary to

preserve the safety ot students and others Neither isolated time out nor physical restraint

shall be used in administering discipline to individual students, i.e., as a form of

punishment Nothing in this Section or in Section t . 280 of this Part shall be construed as

regulating the restriction of students' movement when that restriction is fora purpose other

than the maintenance of an orderly environment (e.g., the appropriate use ot safety belts

in vehicles).

f) Docurnentatlon and Evaluation

‘l) A written record of each episode of isolated time out or physical restraint shall be
maintained in the student's temporary record. The official designated pursuant
to Section 1.280(0)(3) of this Part shall also maintain a copy of each such record.
Each such record shall include:

A) the student's name,'

B) the date of the incident;

C) the beginning and ending times of the incident,'

D} a description of any relevant events leading up to the incident

E) a description of any interventions used prior to the implementation of
isolated time out or physical restraint;

F) a description of the incident and/or student behavior that resulted in
isolated time out or physical restraint;

G) a log of the student's behavior in isolated time out or during physical
restraint, including a description ot the restraint technique(s) used and
any other interaction between the student and stal‘l','

l-l) a description of any injuries (whether to students staft, or others) or
property damage,'

l) a description of any planned approach to dealing with the student's
behavior in the future;

Case: 1:17-cv-O9071 Document #: 1 Filed: 12/18/17 Page 46 ot 91 PagelD #:46

J) a list of the school personnel who participated in the implementation,
monitoring and supervision of isolated time out or physical restraint;
K) the date on which parental notification took place as required by
subsection (g) of this Section.
g) Notlfication to Parents
2) Within 24 hours after any use of isolated time out or physical restraint, the
school district or other entity serving the student shall send written notice of
the incident to the student's parent(s), unless the parent has provided the
district or other entity with a written waiver of this requirement for notification
Such notification shall include the student's name, the date of the lncldent, a
description of the intervention used, and the name of a contact person with a
telephone number to be called for further information
h) Requirements for Training
2) Physical Restraint
A) Physical restraint as defined in this Section shall be applied only by
individuals who have received systematic training that includes all the
elements described in subsection (h)(2)(B) of this Section and who
have received a certificate of completion or other written evidence of
participation An individual who applies physical restraint shall use only
techniques in which he or she has received such training within the
preceding two years, as indicated by written evidence of participation

23 lllinois Admlnistrative Code, 226.100(a)(2), which states

a) Each school district shall be responsible for actively seeking out and identifying all
children from birth through age 21 within the district (and those parentally-placed
private school children for whom the district is responsible under 34 CFR 300.131)
who may be eligible for special education and related services Procedures
developed to fulfill the child find responsibility shall include.'

2) Ongolng review of each child's performance and progress by teachers and other
professional personnell in order to refer those children who exhibit problems
which interfere with their educational progress and/or their adjustment to the
educational setting_, suggesting that they may be eligible for special education
and related services

23 illinois Administrative Code, 226.200, which states
Each school district shall provide special education and related services to eligible children
in accordance with their lEPs.

23 illinois Administrative Code, 226.800(a)(‘t), which states a)

General

il Each school districtl or the cooperative entity of which it is a member, shall employ
sufficient professional and noncertified personnel to deliver and supervise the
full continuum of special education and related services needed by the eligible
students who reside in the district The number and types of personnel employed
shall be based on students' need rather than administrative convenience

Case: 1:17-cv-O9071 Document #: 1 Filed: 12/18/17 Page 47 of 91 PagelD #:47
Background and Summarv of Ailegations

Student A

The parent alleged the following violations of special education rules and regulations
between August 2015 and January 2016 specific to Student A:

‘l. The district failed to follow proper procedures for determining the student's special
education placement. The parent stated that the student's December 2015
placement was predetermined by the school team and was not in the Least
Restrictive Environment (LRE).

2. The district failed to consider the concerns of the parent in developing the student's
individualized Education Program (lEP).

3. The district failed to follow proper procedures for the use of isolated time out and
physical restraint Specificaliy, the parent alleged that the district failed to
appropriately utilize isolated time out and physical restraint Further, the parent
alleged violations of the documentation parent notification and staff training
requirements specific to the use of isolated time out and physical restraint.

4. The district failed to fulfill its child find responsibility specifically with regard to the
identification of the student's secondary eligibility

5. The district failed to implement the student's Behaviora| intervention P|an (B|P).
Specifica|iy, the parent alleged that the district failed to implement positive
behavioral interventions, utilize a behavior chart, and provide information to the
parent in accordance with the |EPlBlP.

6. The district failed to provide the student with an individual aide in December 2015.

? Staff working with the student were not properly licensed

Student B

As stated in previous correspondences from this agency, the issues identified specific to
Student B could not be resolved through the state-level special education complaint
process and were not addressed as part of this investigation Theretore, all references to
“the student" throughout the body of this letter are specific to Student A.

Action Taken in Response to the Colnplaint

During the course of the investigation telephone and email communications regarding
the issues in the complaint occurred with the parent, the director of special education
and the attorney representing the district

Documenta_tion Reviewe§_t

The following documentation submitted by the parties, was reviewed as part of the
investigation

Received from District:

Case: 1:17-cv-09071 Document #: 1 Filed: 12/18/17 Page 48 of 91 PagelD #:48

."*P’

10.

11.

12.
13.

An October 6, 2016 letter from the attorney representing the district addressing
each of the issues identified in the complaint

|EP documentation dated Nlay 4, 2015, Nlay 28, 2015, September 29, 2015,
October ‘i, 2015, October 15, 2015, October 2?, 2015, December 1, 2015,
December16l 2015, February 23, 2016, and September 20, 2016.
Documentation of the parties' participation in state-sponsored mediation dated
January13, 2015.

A December 10, 2015 District Request for an impartial Due Proeess Hearing
Officer, the parent’s December 10, 2015 letter requesting a due process hearing,
the January 6, 2016 Status Conference Summary, and the February 24, 2016
Order of Withdrawal from the impartial hearing officer.

A January 12, 2016 letter of complaint from the parent previously filed with this
agency.

An October 1, 2015 incident Report.

Various behavior data collection too|s, including daily point sheets and anecdotal
notes, dated September 9. 2015 through January 29, 2016.

Various behavioral data charts created by the district's board certified behavioral
analyst (BCBA) based on data collected between September 9, 2015 and
December14, 2015.

Observation notes from a B|P fidelity check conducted by the BCBA on October
20 and 22. 2015.

Licensure information for each staff member that worked with the student during
the 2015-16 school year.

Documentation specific to student discipline, including Non-Violent Physical Crisis
intervention Administration Procedures/Crisis Team Procedures; a PowerPoint
presentation entitled "Student Discipline: Use of Physical Restraint;” Physical
Restraint, isolate Time Out, and Crisis Response Procedures; school board
policies specific to student discipline, including lvlisconduct by Students with
Disabilities (7:230) and Student Discipline (7:190); and the portion of the student
handbook specific to student discipline (pages 10-16).

A list of staff trained on the safe application of physical restraint

Various email communications that occurred during Septemberthrough December
2015.

Received from Comp|ainant:

1 .

2.

3,

The formal letter of complaint dated August 151 2016 and a September 1, 2016
follow up email clarifying the issues of the complaint

Letters of complaint1 dated July 8, 2014 and January 12, 2016, previously
submitted to this agency.

A December10, 2015 lederfrom the parent to the district requesting a due process
heanng.

A December 10, 2015 letter from the parent to the lSBE mediation coordinator
requesting State-sponsored mediation

A May 28, 2015 Parenf/Guardian Notr'fication of individuaiized Educati'on Program
Amendment attached to the student's Apri| 13, 2015 |EP.

Daily Point Sheets from December1, 2015 through December 11l 2015.

Case: 1:17-cv-O9071 Document #: 1 Filed: 12/18/17 Page 49 of 91 PagelD #:49

7. A copy of the district’s Non~\/ioient Physical Crisis intervention Administration
ProceduresiCrisis Team Procedures and Board Po|icy 7:230 l\ilisconduct by
Students with Disabilities

8. A September 9, 2015 email from the general education teacher to the parent

9. A November 2, 2015 email exchange between the parent and district staff
regarding the scheduling of parent/teacher conferences

10. A September 23, 2015 Direct Service Report completed by a _
- Behavior Coach from the illinois Service Resource Center.

11. A September 29, 2015 Screening, Assessment, and Support Services (SASS)
Recommendations for Caretaker form.

Student information

During the 2015-16 school year. the kindergarten student was eligible for special
education and related services under the
She was placed in the general education setting for
80% or more of the school day and received direct and consult services for _
in various settings (inside andior
outside general education). i\/lultiple lEP team meetingsiamendments were conducted on
behalf of the student relevant to this complaint investigation as foilows:

' Niay 4, 2015-Amended the student’s April 13, 2015 lEP to reflect the development
of a BIP

- Niay 28, 2015_Amended the student's BIP

' September 29, 2015_Conducted annual review meeting and initiated a
reevaluation

- October 1l 2015--Amended the Educaiionai Accommodaiions and Supports to
include _

- October 15, 2015-Reviewedirevised the lEP and reviewed the BlP

‘ October 27, 2015--Reviewedirevised the |EP

' December 1l 2015--Reviewed/revised the lEP and reviewed placement

' December 16, 2015_Reviewedirevised the lEP and reviewed the Functional
Behavioral Assessmerit (FBA) and BlP

' February 23, 2015_Reviewedirevised the lEP

Findings/Conciusions
issue 1 - P|acements {34 CFR §300.116}
A. Predetermination
No violation is found as explained below:
The parent alleged that the district failed to follow proper procedures for determining

the student's special education placement. Specifical|y, the parent stated that the
student’s December 2015 placement was predetermined by the school team, as

Case: 1:17-cv-O9071 Document #: 1 Filed: 12/18/17 Page 50 of 91 PagelD #:50

evidenced in a September 23, 2015 Direct Service Report conducted by a -

Behavior Coach from the illinois Service Resource Center (lSRC).
The report states, in part, “...Severai members of the team question if [ihe schooi] is
an appropriate piacemeni for [ihe studeni].” According to the parent, this statement
suggests months of predetermination.

The district denied this allegation stating that the student’s December 1, 2015
placement decision was made by the team after careful consideration of formal
standardized assessment results, an outside evaluation report, and input from district
staff (e.g., teachers, related service providers), the parent, the grandparent the family
advocate, and an independent psychologist Further, the district reported that multiple
lEP team meetings were convened over the course of the 2015-16 school year in order
to review data and consider what supports could be put in place in the general
education setting, prior to changing the student’s placement.

 

Case: 1:17-cv-O9071 Document #: 1 Filed: 12/18/17 Page 51 of 91 PagelD #:51

 

Based upon the documentation provided, the student's placement was determined
after thorough discussion by a team of individuals at an lEP team meeting convened
on December 1l 2015. The statement from the September 23, 2015 report referenced
by the parent does not suggest that the student’s placement was decided in advance
of the December 1, 2015 lEP team meeting As such, no violation is found.

. Least Restrictive Envrionment (LRE)
The following violation is found as explained below:

The parent alleged that the student’s December 2015 placement was not in the Least
Restrictive Environment (LRE). The district denied this allegation stating that the
proposed placement in a specific special education program within the district was
never implemented because the parent requested a due process hearing on
December 10, 2015, which invoked the stay-put provision Further, the subsequent
resolution on January 13, 2016 provided for the student's continued placement in the

Case: 1:17-cv-O9071 Document #: 1 Filed: 12/18/17 Page 52 of 91 PagelD #:52

general education setting Therefcrel according to the district, this issue is entirely
moot because the student's placement never changed

The district stated that a review of the records demonstrates that the Additionai
Noies/informaiion for each of the September, October, and December lEP team
meetings are thorough accountings of the district’s intensive consideration of data in
making the determination that placement in the therapeutic environment of the
district's _ program was appropriate for the student Additionally, this
determination came after consideration of the student's continued disruptive and
unsafe behaviors in the general education setting, despite the intense level of
supportsl including a social worker or behavior intervention specialist who was in the
classroom during the entire school day to assist with the student and ensure the safety
of the student and others. The team concluded that, even with the addition of highly
trained behavioral staff within the general education setting, the student's behaviors
remained significant and limited her progressl Therefore, the team considered
placement along the continuum of services in an effort to adequately meet the
student's need.

As previously stated in issue 1A, the student's placement was changed to a specific
special education program within the district at the December 1, 2015 lEP team
meeting. Per the district website, this program is designed to provide intermediate to
intense socialiemotional, as well as academic instructional support to students
primarily in a small structured learning environment

A review of the December1, 2015 lEP provided the following information

Present Levels of Academic Achievement and Functiona| Performance

-The Studenf"s Present i_evei of Academic Achievement includes information
from September 2015 specific to the student's speech. Additional information
was added at the December 1, 2015 meetingl also specific to the -

- The Siucieni"s Present Levei of Functionai Performance includes information
regarding her hearing, dated April 13, 2015 and September 29, 2015. Additional
information was documented on October 27, 2015 regarding the student's
_ i-iowever. no updated information was provided in December
2015.

-The description regarding the effect of the student's disability on her
involvement and progress in the general education curriculum and the
functional implications of the student's skills is dated October 27, 2015. This
section includes information regarding the student's medical diagnoses and
special education eligibilities. Further, this section states that, in addition to

supports to address her _ the student would benefit from
direct skill instruction related to social-emotional functioning and

Case: 1:17-cv-O9071 Document #: 1 Filed: 12/18/17 Page 53 of 91 PagelD #:53

Goais and Obiectives/Benchmarks

- The December 1, 2015 lEP provided by the district includes one speech goal.
No other academic or functional goals were attached to the document
submitted by the districtl

Educationa| Services and Placement

' The placement proposed by the district team included 1375 minutes per week
in the districts _ program with participation in the general
education setting for special classes (art, physical education music. etc.) with
paraprofessional support and lunchirecess with paraprofessional support The
proposed placement also included

   
   

- The Educationai Environment Consio'erations section indicates that the student
required small group integrated and direct social emotional support

FBA/B|P

' The December 1, 2015 lEP document provided by the district did not include a
FBA or B|P.

Additional Notesi|nformation

' With regard to the proposed placement. the district explained that the student
would receive integrated social emotional support in a program with a low adult
to student ratio.

v The district team determined that the district‘s _ program was the
least restrictive and most appropriate placement because, despite the
implementation of various interventions, the student's progress was limited.

Behavioral Data

~ Various behavior data charts were attached to the lEP document including
data collected between September 9, 2015 through November 23, 2015
specinc to

time out of
class, duration unengaged in ciassroomiduration of non-compliance. average
redirections per hour, and daily points.

A|though the placement proposed at the December 1, 2015 team meeting was never
implemented the information documented does not support placement in a program
designed to provide socialiemotional support The district stated that the notes from
the meetings in September, October, and December demonstrate the thorough

10

Case: 1:17-cv-O9071 Document #: 1 Filed: 12/18/17 Page 54 of 91 PagelD #:54

accountings of the district’s intensive consideration of data, which ultimately led to the
therapeutic placement. However, in isolation the December 1, 2015 lEP document
provided does not include information specific to the student's social emotional needsl
Specifically, while the Present i_eveis of Academic Achieverneni and Functionai
Perforrnance state that the student would benefit from direct socialemotional skill
instruction there is no information specific to the student's socialemotional deficits or
an expianation regarding how those deficits impact the student's education Further,
the December 1, 2015 lEP did not include any socialemotional goals or a FBAiB|P.
Additionaliy. the district collected behavioral data on behalf of the student, but
documented no analysis or summary to show that the student's placement
determination was based on the data. if the December 1, 2015 lEP was intended to
supplement the student's previous lEPs, a copy of the relevant information from the
previous lEPs should have been attached to provide additional support for the
placement decision

issue 2 - Deve|opment, Review, and Revision of lEP {34 CFR §300.324}
No violation is found as explained below:
The parent alleged that the district failed to consider her educational suggestions,

concerns, inputl and direction in developing the student's |EPs, including the BlPs,
between August 2015 and January 2016_

    

 

 

 

 

ll

Case: 1:17-cv-O9071 Document #: 1 Filed: 12/18/17 Page 55 of 91 PagelD #:55

 

 

 

 

12

Case: 1:17-cv-O9071 Document #: 1 Filed: 12/18/17 Page 56 of 91 PagelD #:56

 

 

October 27,
2015

 

December 1,
2015

 

 

December 16,
2015

 

 

|||l||||||| i'|l||| l'|l|||

 

Based upon this documentation there is no indication that the district failed to consider
the parents educational concerns

issue 3 - Requirements for the Use of isolated Time Out and Physical Restraint {23
|AC 1.285}

A. Use of isolated Time Out and Physical Restraint

13

Case: 1:17-cv-O9071 Document #: 1 Filed: 12/18/17 Page 57 of 91 PagelD #:57

i. isolated Time out
The following violation is found as explained below:

The parent alleged that the district failed to appropriately utilize isolated time out
Specifically, the parent alleged that the district misused the alternative intervention
rooml isolation seclusion and office spaces

According to the district, classroom removals did occur to address unsafe or
threatening behaviors due to physical aggression but isolated time out was not
utilized The district contends that, per the student‘s October 27, 2015 BlPl one
strategy used by the district to reinforce positive behaviors and minimize rewards for
problem behaviors was to transport the student to a space with minimal distractors
and implement planned ignoring.

Additionally, in times of crisis, the same space was used to stabilize the student
According to the district this space, referred to as the alternative intervention or low
stimulation room. was not intended to be utilized as an isolated time out room,
particularly because the door to the room did not look so it was not possible to isolate
the student in the room and restrict her egress Further, the district stated that, in
practice, staff were always present in the room with the student The district also
reported that the student Was never physically prevented from leaving the room, but a
staff member would stand in the room in front of the doorway or in the doorway of the
room if the student's behavior escalated

A review of the students October 27, 2105 lEF’l Additionai Noies/informaiion section
noted that when in the “low-stimu|ation" room, an adult will start out in the door Way,
but if the student becomes aggressive, the team will step out and stay within two feet
and have visual proximity

A review of the documentation indicates that each BlP in effect between August 2015
and January 2016 included a Crisr's Pian that provided for the use of a time out
procedure Specifically, the BiPs allowed for the use of a time out procedure when the
student displayed unsafe behaviors. which were identified in the Crisis Pian as
climbingl knocking over furniture, kicking, and hitting. During those periods of time, the
student would be removed to the low stimulation room.

Based upon the documentation the student was removed from the classroom to staff
offices due to disruptive behavior on various occasions as identifed below.

 

Date Description of Removal

 

September 9, 2015 An incident occurred in which the student was hitting, kicking,
head butting, and biting the teacher The student was removed
from the classroom to the social worker’s office

 

 

September 1?, 2015 The student was removed from the classroom to the principal's
office after punching the psychologist in the face.

 

 

14

 

Case: 1:17-cv-O9071 Document #: 1 Filed: 12/18/17 Page 58 of 91 PagelD #:58

 

September 16, 2015

The student was removed from the classroom to the office
after hitting, biting, and kicking the speech language
pathologist and psychologist

 

September 22, 2015

At approximately 10:05 a.m., the student left the classroom
with the assistant principal after kicking another student,
throwing classroom items, kicking objects, and pushing the
psychologist The student returned to the classroom at 10:30
a.m. At approximately 12:24 p.m., the student was taken to
the office by the principal after hitting another student in the
face with a seat The student returned to the classroom at 1:15.
Subsequent|y, the student was escorted to the office at
approximately 2:27 p.m. after hitting the behavior
interventionist trying to bite others, and climbing on fumiture.

 

September 24. 2015

The student was removed to the psychologists oche after
hitting, pushing, kicking, and biting the psychologist hitting
peers, hitting the teacher, and climbing on fumiture.

 

 

November 3, 2015

 

The student was removed to the nurse’s office for
noncompliance after walking out of the gym during physical
education

 

Additionaily, the following list identifies removals to the low stimulation room that

occu rred :

 

Date

Description of Removal

 

October 21l 2015

An incident occurred in which the student was removed to the
low stimulation room due to aggressive behaviors after hitting
the social worker.

 

November 12, 2015

The student was transported to the alternative intervention
room after kicking the substitute social worker.

 

November 23, 2015

At approximately 9:30 a.m., the student was transported using
CP| transport, to the alternative intervention room for hitting
and kicking staff. The student was removed from the
classroom to the alternative intervention room at
approximately 1:30 p.m. for kicking at the substitute social
worker and on-going noncompliance

 

December 2, 2015

The student was removed from the classroom to the
alternative intervention room in order to calm down after
continued noncompliance

 

 

December 15, 2015

 

The student was guided (use of two person Crisis Prevention
intervention (CP|) transport) to the alternative intervention
room after pushing the teacher and throwing items at the class

 

isolated time out is defined in the illinois Administrative Code at 1.285 as the
confinement of a student in a time-out room or some other enclosure, whether within

15

 

 

Case: 1:17-cv-O9071 Document #: 1 Filed: 12/18/17 Page 59 of 91 PagelD #:59

or outside the classroom, from which the student's egress is restricted Situations may
occur in which district staff use a behavior management technique to separate a
student for purposes of calming which may not be considered "isolated time out" (i.e.
to the office). l-lowever, in this particular situation the student's BlP specifically
indicated that a time out procedure would be utilized when the student displayed
unsafe behaviors, such as climbing, knocking over furniture, kicking and hitting and
would be removed to a low stimulation room.

ii. Physical Restrainf

The parent alleged that the district failed to follow proper procedures for the use of
physical restraint According to the district physical restraint is utilized in an effort to
maintain a safe and orderly learning environment and only after appropriate positive,
less restrictive behavioral interventions are ineffective The district indicated that there
was only one incident in which physical restraint was utilized with the student which
occurred on October 1, 2015, because the student posed a physical risk to staff.

A reivew of the documentation indicates that a BlP was developed via the lEP
amendment process on May 5, 2015, The Crisis P|an states that physical restraint
would be used if the student became a danger to self or others Each subsequent BlP
developed during the timeframe identified by the parent (August 2015-January 2016),
dated May 28, September 29, October 15, October 27, and December 16, 2015,
includes the same language regarding physical restraint

Based upon the documentation a Crisis Prevention intervention (CP|) "hold” was
implemented on October 1, 2015 due to aggressive behaviors. Additionaliy, the
following list identifies some of the removals that included the use of physical restraint
"transport":

 

Date Description of CP| Transport

 

September 29, 2015 Using CPl transport the student was guided to the alternative
intervention room after kicking other students and kicking and
punching the teacher in the face

 

October 21, 2015 Using CP| transport an incident occurred in which the student
was removed from the classroom due to aggressive behaviors
after hitting the social worker.

 

November12, 2015 The student was transported to the alternative intervention
room after kicking the substitute social worker.

 

November 23, 2015 Using CP| transport the student was guided to the alternative
intervention room for hitting and kicking staff.

 

 

December 15, 2015 Using CPi transport the student was guided to the alternative
intervention room after pushing the teacher and throwing
items at the class

 

 

Physical restraint is defined in the illinois Administrative Code at 1.285 as the means
of holding a student or otherwise restricting his or her movements ln this particular

16

 

Case: 1:17-cv-O9071 Document #: 1 Filed: 12/18/17 Page 60 of 91 PagelD #:60

situation the student was removed from the classroom using physical restraint
techniques

B. Documentation of isolated Time Out and Physical Restraint
i. isolated Time Out
The following violation is found as explained below:

The parent alleged that the district failed to follow proper procedures for
documenting the use of isolated time out. According to the district there was no
use of isolated time out. However, the district stated that the alternative intervention
reports provided details of the student's removals from the classroom.

The district submitted the following documents:

' A report log for the low stimulation room specific to October 21, November 12l
November 23, December 2, and December 15. 2015. The log included the
date/time student activityisubject, antecedent target behavior, behaviors
demonstrated during the time in the low stimulation room, follow-up supports in
place, and staff member name

- Daily point sheets from October 2015-January 2016 that noted the student's
behavior and included detailed notes regarding each incident (i.e. the date,
time, description of events, interventions and behavior, and the involved staff
members).

- Charts that included the students name, date, time, class activity, behavior,
antecedents consequences and notes

As identified above in issue 3(A)(i), it was determined that isolated time out
procedures were utilized Therefore, documentation would be required The
materials submitted by the district included very detailed documentation of the
student’s behavior on a daily basis, including the dates and times the student was
removed from the classroom.

The illinois Administrative Code at 1.285 identifies the requirements for each such
record to include the student name, date, time, events leading up to the incident
interventions used, student behavior, planned approach to dealing with the
behavior, a list of involved school personnei, and the date on which parental
notification took place in this situation the district included all information with the
exception of the description of any injuries or property damage and the date on
which parental notification took place

ii. Physical Restraint

The following violation is identified as explained below:

l"r'

Case: 1:17-cv-09071 Document #: 1 Filed: 12/18/17 Page 61 of 91 Page|D #:61

The parent alleged that the district failed to follow proper procedures for
documenting the use physical restraint

As identified above lssue 3(A)(ii), it was determined that physical restraint
procedures were utilized. Therefore documentation would be required. The
materials, submitted by the district, included very detailed documentation of the
students behavior on a daily basis, including the dates and times the student was
removed from the classroom utilizing CP| control and CPi ho|d.

The lllinois Administrative Code at 1.285 identifies the requirements for each such
record to include the student name, date, time, events leading up to the incident,
interventions usedl student behavior, description of any injuries, planned approach
to dealing with the behavior, a list of involved school personne|, and the date on
which parental notification took place

|n this situation, the district included all information with the exception of the
description of any injuries or property damage and the date on which parental
notification took place

C. Parent Notification

.
l.

isolated Time 0th
The following violation is found as explained below:

The parent alleged that the district failed to follow proper parent notification
procedures for the use of isolated time out.

A|though very detailed reports of the students behavior were maintained by the
district, it is unclear whether or not this information was provided to the parent, and
if so, when it was provided.

Physical Restraint
The following violation is found as explained below:

The parent alleged that the district failed to follow proper parent notification
procedures for the use of physical restraint.

The district provided an October 1, 2015 email to the parent from the school social
worker with an anecdotal log of the student's behavior, which includes information
regarding the use of physical restraint. This documentation meets the parental
notification requirements outlined in 23 |AC 1.285. However, as identified above it
was determined that other physical restraint procedures were utilized. Therefore
notification would be required of the other incidents of physical restraint

18

Case: 1:17-cv-O9071 Document #: 1 Filed: 12/18/17 Page 62 of 91 Page|D #:62

D. Staff Training Requirements
The following violation is found as explained below:

The parent alleged that the district failed to properly train staff on the use of isolated
time out and physical restraint

The district indicated that the principa|, assistant principa|, two behavior
interventionists, two social work substitutes social worker. psychologist special
education teacher, and security guard had received training on the safe application of
physical restraint Although the district maintained detailed notes, it is unclear which
staff members were involved in the CP| tranports that occurred on October 21 , 2015,
November '|2, 2015, November 23, 2015, and December15, 2015.

issue 4 - child Find Responsibility {23 lAc 226.100}

No violation is found as explained below:

The parent alleged that the district failed to fulfill its child find responsibility specifically
with regard to the identification of the students secondary eligibility According to the
parent, the district failed to recognize and identify the student's needs. The district
maintains that it has, at all times, appropriately identified and evaluated the student in all
relevant domains, in a timely manner, and that all evaluations were sufficiently
comprehensive to identify her strengths and areas of need.

 

19

Case: 1:17-cv-O9071 Document #: 1 Filed: 12/18/17 Page 63 of 91 Page|D #:63

 

issue 5 - General Requirements {23 |AC 226.200}
A. lmpiementation of BlP
The following violation is found as explained below:

The parent alleged that the district failed to implement the student's BlP during the
first several weeks of the 2015-16 school year. The district denied this allegation,
stating that lEP team meetings were convened on September 29, 2015, October15,
2015, October 27, 2015, December 1, 2015, and December 16, 2015 specifically to
discuss and review the implementation of the student’s BlP, behavior tracking, and
to provide information to the parent in accordance with the lEP/BIP. Further, the
district reported maintaining substantial amounts of data on the positive interventions
that were utilized, the student’s behaviorl and the analysis of the data points.
However, despite the district`s efforts, the student was rarely compliant, required
constant redirection, and engaged in physical aggression, verbal threatsiintimidation,
and destructiveiunsafe behaviors

The BlP in effect at the beginning of the 2015-16 school year was developed on May
4, 2015 and was added to the student's Apri| 13, 2015 lEP as an amendment The
BIP was documented as a related service on the Educationai Services and
Piacement page and was developed to address the target behaviors of hitting,
kicking, biting. and climbing on/knocking over furniture which were occurringl on
averagel four times per day. On May 28, 2015, the BlP was reviewed by the team
and revised to reflect more current data.

20

Case: 1:17-cv-09071 Document #: 1 Filed: 12/18/17 Page 64 of 91 Page|D #:64

As previously stated, the 2015-16 school year started on August 19, 2015. However,
according to the Additionai Notes included with the BlP in the students September
29. 2015 lEP, the school psychologist entered a note. dated August 26. 2015, which
states:

“{T he student] is not exhibiting these negative behaviors at this time The team is
suspending the BlP at this time and wiii review her progress in six weeks (or sooner,
if needed) to determine the appropriateness of the BIP for [the student]. ”

Subsequently, the Additionai Notes from the October 15, 2015 meeting state:

"Piease note the term ,,suspended" was intended to mean that the BiP was on hold
unfit [the siudent] exhibited significant behaviors or ceased responding to the
ciassroom-wide behaviorai system [T he parent] was informed via emaii on September
7, 2015 that the BiP was not needed at that time as [the student] Was not displaying
any behaviors and was responding to the ciassroorn intervention system The BiP was
resumed on September 9, 2015. ”

Based upon the information provided, the student's BIP was not implemented for
approximately nine school days. Further, the documentation provided does not
indicate that a formal lEP amendment was conducted on August 26, 2015 when the
school psychologist added the note regarding the suspension of the student's B|P.
Thereforel if the student's BlP was suspended on August 26, 2015 and the parent was
notified via email on September 7, 2015, this information would suggest that the parent
was not involved in the decision to suspend the student's B|P. As such, a violation is
found.

i. Positive Behavioral interventions

No violation is found as explained below:

 

21

Case: 1:17-cv-09071 Document #: 1 Filed: 12/18/17 Page 65 of 91 Page|D #:65

 

Use of Behavior Chart
The following violation is found as explained below:

The parent alleged that the district did not utilize a particular daily behavior chart with
the student until mid-September 2015, Specifica||y, the parent stated that the team
refused to use a "smi|ey chart” and referenced a September 2015 email from the
student's teacherl Further, the parent alleged that such behavior charts were not
completed by staff in 15 minute increments Rather, the behavior charts were
completed at the end of each day.

The district acknowledged that the student's behavior was not specifically tracked
utilizing the smiley chart during the first two weeks of the 2015-16 school year. Despite
the student's history of difhcu|t behaviors and the implementation cf a BlP during the
previous school year1 the district reported that the student began the 2015-16 school
year with no significant behaviors Based on such success and because the student
had responded to the classroom behavior management system, the team did not
utilize the previous year‘s smiley chart until she displayed significant behaviors or
ceased responding to the classroom behavior system. Tracking of the student’s
behavior with the smiley chart resumed on September 9, 2015, Further, the district
asserts that it addressed the parent`s concerns about the use of the smiley chart during
the first two weeks of school by instituting individual behavior support on a day-to-day
basis from either a social worker or a behavioral interventionistl

According to the lEP in effect at the beginning of the 2015-16 school yearl dated |'vlay

28, 2015, the student's behavior impeded her learning or that of others The BlP
attached to that lEP included the use of a behavior chart with opportunities for earning

22

Case: 1:17-cv-09071 Document #: 1 Filed: 12/18/17 Page 66 of 91 Page|D #:66

rewards to reinforce appropriate behaviors and minimize problem behaviors as a
Consequence Strategy. The BlP also indicated that the classroom team would
develop a behavior chart outlining the times of day to check in by September 11. 2015.
The evaluation plan included a behavioral goal for the student to participate in
classroom activities to gain positive adult attention and wait until designated check in
times to talk to an adult as evidenced by gaining a certain percentage of daily points
Additionally, the team stated in the Additionai Notes that, since the student was
transitioning to Kindergarten, that team would determine the check in system that
would be appropriate in the full day setting.

The parent provided a September 9, 2015 email from the students teacher, which
states in part:

..This behavior has been out of the ordinary for what she has showed me over the
past few weeks i wouid like to continue to stick with the individuai ciassroom behavior
chart for now and if we continue to see this type of behavior over the next week, we
can come together and create a plan with our team at [schooU to adjust our support to
meet [fhe student"s] needs . .”

This email suggests that the district was utilizing a behavior chart with the student, but
neither party submitted documentation of the “individua| classroom behavior chart”
referenced by the teacher,

At the student's annual review meeting on September 29, 2015, some minor revisions
were made to the B|P. For example the team developed a separate BlP for each
target behavior instead of one comprehensive BlP and the dates for the completion
and review of intervention tasks were modified The use of a behavior chart as a
Consequence Strategy was removed from the B|P, but the provision of frequent
behavioral feedback following activities was added as an Antecedent Strategy.
A|though the use of a behavior chart was not explicitly stated as a strategy in this B|P,
it is implied based upon the intervention task to develop a behavior chart outlining the
times of day to check in and the behavioral goal for the student to meet a specific
percentage of daily points Further, the Additionai Notes/information states that the
team agreed to make the clip chart system correlate with the point sheet (smiley
faces).

Whi|e additional meetings were convened subsequent to September 29, 2015, the
parent‘s allegation was specific to the timeframe between the beginning of the 201516
school year and mid-September 2015_ As such, based upon a review of the
documentation, each of the student's B|Ps in effect through September 2015
referenced the use of a behavior chart, but did not specifically identify the type of chart
to be utilized (smiley chart) orthe frequency (1 5 minute increments) in which staff were
required to check in with the student However, the district acknowledged that a
behavior chart was not utilized during the first two weeks of the 2015-16 school year.
Further, the district failed to provide documentation of the use of a behavior chart until
October 2015, As such, a violation is found.

23

Case: 1:17-cv-09071 Document #: 1 Filed: 12/18/17 Page 67 of 91 PagelD #:67

Provision of tnformation to Parent

No violation is found as explained below:

The parent alleged that the district intentionally withheld documentation, which
violated the B|P. Specifical|_v, the parent reported that documentation had been
provided on a daily/weekly basis, but ceased between November 10, 2015 and

December 4, 2015,

   
 

 

 

 

 

 

 

- - -
i i a
_ _ a
ii-
_ i;__
i___-i
i_i
_
_
i_
iii
_____,_ ____ __ .
-

 

 

 

 

 

 

Case: 1:17-cv-O9071 Document #: 1 Filed: 12/18/17 Page 68 of 91 PagelD #:68

 

 

li ll l

 

 

 

 

B. Provision of |ndividua| Aide

No violation is found as explained below:

The parent alleged that the district failed to provide the student with an individual aide
in December 2015.

 

lssue 6 - Personnel Required to be Qualif'led {23 |AC 226.800}

No violation is found as explained below:

25

Case: 1:17-cv-O9071 Document #: 1 Filed: 12/18/17 Page 69 of 91 PagelD #:69

 

Corrective Action

The district must:

1.

2.

3.

Ensure that placement decisions are made based On a child’s lEP in accordance
with 34 CFR 300.116 and Such determinations are sufficiently documented
Convene an lEP team meeting in order to clarify the use of isolated time out and
physical restraint in the student's BIP.

Provide training to staff on isolated time out and physical restraintl Such training
should address the use of such techniques, documentation requirements, parent
notification requirements and training requirements

Disseminate information to staff regarding the requirements of 23 |AC 226.200
regarding the provision of special education and related services to eligible children
in accordance with their lEPs as well as the requirements of 34 CFR 300.324(a)(4)
and (a)(6) regarding parental agreement and lEP amendmentsl

The following materials will serve as verification of compliance with all parts of the
corrective action order:

1.

2.

3.

4.

A statement of assurance that placement decisions will be made based on a chi|d’s
lEP in accordance with 34 CFR 300.116 and such determinations will be
sufficiently documented in the |EP.

A copy of the formal lEP, including the BlP in which the procedures for the use of
isolated time out and physical restraint are clarified

Documentation of the identified training, including a listing of staff and
administration who participated and a copy of any training materials

Verification of the dissemination of the identified information, including a listing of
staff and administration who received such information, an explanation of the
method of dissemination, and a copy of any materials provided

The above listed materials should be sent to my attention, Specia| Education Services
Division, no later than October 6, 2017.

26

Case: 1:17-cv-O9071 Document #: 1 Filed: 12/18/17 Page 70 of 91 PagelD #:70

Cooperation from both parties during this investigation is appreciated Use of this
complaint process does not preclude an eligible party such as a parent, school district, or
a student from requesting a special education due process hearingl if you have any
questions regarding this response, | can be reached at _ or

Sincere|y,

Principal Education Consu|tant
Special Education Services Division

ccc _ Parem
_ Auomey for valley view cuso esso

27

Case: 1:17-cv-O9071 Document #: 1 Filed: 12/18/17 Page 71 of 91 PagelD #:71

 

 

Case' 1'1 7-(‘\/-09071 Document #' 1 l:ilr:ri' 17/12/17 D;\gr: 79 rif Q1 Dngnln iii-79

lllinois State Board of Education

100 Nol'lh F`|BlRl‘M¢ Spwdd. llll'dl EZTT?-MD‘|
mJSh¢.nd

.|¢'MIT.M» Turry Enlm.l»*h.l).
m Sratlr.r ofEc'uc¢£hn

 

 

November 21 . 2017

Director of Special Education

Valley View Comm unity Unit School District 3650
301 West“t~tormantown Rear.t

Rcmeovi|le, |L 60446

and

Super`mtendent

Valley View Cornmunity Unit School District `SBBU
801 West Non'nantown Road

Rcmeoville. lL 604-46

RE: _ Complaint

Case Number 2017-0049

Dear _:

The S ecial Education Division is in receipt of an October 26, 2017 letter from -
b regarding the district's continued objection with the agency's Juiy 31.
2017 letter of finding and October 16, 2017 response letter. As stated in the response
letter, agency staff reviewed the concerns of the district outlined in their August 22, 2017
fetter and made revisions w the fetter cf fmdings, datechtober 12, 2016. Despite the
district`s position, a determination was made that the investigation was sufficient and the
findings of fact and conclusions were aligned with the complaint process As such, the
revised letter of finding is fina|.

Response to Correct_tve Actio_n
With regard to the identified complaint investigation, the illinois State Board of Education.
Special Education Services Divislon, received your response to the corrective action

required in the October 12, 2016 revised letter of findings

The following documentation was required and submitted, resulting in the closing of
specific issues of the complaint

__..,_-N

 

CaSe' 1'17-cV-O9071 Document #' 1 Filerl' 19/18/17 Pégg?> Of 91 PagelD #:73 al

 

t. The district was required to ensure that placement decisions are made based on a
child ’s individualized Education Pregrarn (lEP) in accordance with 34 CFR 300. t 16
and such determinations are suliicienlly documented

The district submitted an October 26. 2017 statement of assurance ensuring that
placement decisions will be made based on a student's lEP in accordance with 34
CFR 300.116 and that such placement decisions will be sufficiently documented
in the lEP,

2. The district was required to convene an lEP team meeting in order to clarify the
use of isolated time out and physical restraint in the student's Beha vior intervention
Plan (BlP). `

The district reported that the parent revoked consent for special education services
on September 19, 2017. As such, the student is now a general education student
and no longer has an lEP or BlP to revise.

3. The district was required to disseminate infonnation to staff regarding the
requirements of 23 lAC 226.200 regarding the provision of special education and
related services to eligible children in accordance with their lEPs, as well as the
requirements of 34 CFR 300.324(a)(4) and (a)(6) regarding parental agreement
and lEP amendments

The district provided an October 26, 2017 memorandum regarding the
requirements of 23 |AC 226.200 and 34 CFR 324 that was disseminated to Student
Resource Team (SR`D Leaders with a directive to review the regulations with
special education staff and administrators

However, portions of the required documentation were not submitted as explained below:

l] 'l'he district was required to submit documentation to verify the provision of training
to stan' on isolated time out and physical restraint Such training was to address
the use of such techniques,. documentation requirements parent notification
requirements and training requirements

The district reported that it has already complied with this item of the corrective
action since staff members and administrators receive regular nonviolent crisis
intervention training, which includes training on techniques and requirements
related to documentation and parental notincation. Furtherl the district reported
that a tist ot staff members and administrators who have received such training
was provided in response to the complaint investigation

The intent of the required corrective action, specific to staff training, is to ensure
that staff are aware of the regulatory requirements associated with the use of
isolated time out and physical restraint, including documentation requirementsl

 

t

Case: 1:17-Cv-09071 Document #: l Filed' 32/18/17 Page 74 of 91 Page|D #:74

parent notification requirementsl and staff training requirements Specifically, the
district must provide training to staff on isolated time out and physical restraint that
addresses the following:

The districts procedures for utilizing isolated time cut and physical restraint
The requirement to maintain a written record of each episode of isolated time
outer physical restraint in the student's temporary record and the content of
such records in accordance with 23 IAC 1.285(0.

The requirement to issue written notice tc a student's parent(s) within 24 hours
after any use of isolated time out or physical restraint and the content ot such
notice in accordance with 23 |AC 1.285(g).

The requirements for training in accordance with 23 lAC 1.285(h).

ln order to verify full compliance with the corrective action, the district must submit
documentation of the identified training. including a listing ct staff and administration who
participated and a copy of any training materials by February 16, 2018.

The district is reminded that failure to provide all parts ct the corrective action order by the
required date may result in a warning letter and possible consideration of enforcement
procedures Such enforcement procedures may include suspension of your school
recognition or an order withholding some or all of your Part B funds under P.L. 108-446.

lf iou have eni iuestions regarding this response. please contact me at _

$.`>int':l.=.'relyl

Principal Education Consu|tant
Special Education Services Division

cc: Parent
District Attorney
District Atlorney

 

Case: 1:17-cv-09071 Document #: 1 Filed: 12/18/17 Page 75 of 91 Page|D #:75

lllinois State Board of Education
lmpartial Due Proeess Hearing

Susan Kutt:ner, Parent )

_ Student )
) Case Number: 2016-0213
Versus )
) IHO _
ValleyView )
School District #365U, )
Local School District )
Pioneer Elementary School )

PARENT’S MoTloN To sTRIKE ALL TESTlMoNY oF- ClPRlANo.

Now comes Susan l<.uttner. Pro-Se, Parent cr and hereby moves that the
IHO order TO STR]KE TESTIMONY OF CIPRIANO in the Due Proeess Hearing
beginning August 'r'. .'#l(]l')’1 testimony on August 9, 2017 and transcript from expedited
hearing

Parent respectfully requests the IHO strike all of - Cipriano`s testimony and
previous testimony from the record and does not consider it in her Decision Ruling,

On August 9, 201'?`, - Cipr'iano arrived to testify but parties were waiting for
lunch. - Cipriano met for 20 minutes with District)'Counsel in the 418 room lunch
room for the Hearing. During District"s Cross Counsel elicited testimony in detail from
Cipriano regarding Isolated Timeout and clarifications of what the witness had stated in
previous meetings Upon Redirect Parent questioned Cipriano and obtained responses
affirming that she had met and discussed testimony related to Isolated Timeout with
Districthounsel. The witness preceding Cipriano was _ during whose
testimony new evidence was entered regarding 2 admissions by Cipriano on a recording
that Isolated Timeout had been used on the Student, which would have been a violation.

This was extremely prejudicial to Parent’s case and Parent asserts her testimony
after having been intluenced was unlikely true. Counsel tam ered with witness Cipriano.
influencing her testimony IHO announced to Witness h not to discuss her
testimony_, but Districthounsel conveyed the exact content of the damaging evidence and
influenced Cipriano`s testimony in District`s favor. This is further unethical.

Argument and Law

The IHO may decide to strike the testimony and any transcripts of- Cipriano and not
give any consideration or weight whatsoever to her testimonies, but IHO may preserve
the record of the testimony which helped determine the valid cause to Strilce the

testimony

Case: 1:17-cv-09071 Document #: 1 Filed: 12/18/17 Page 76 of 91 Page|D #:76

Law and citations related to Witness tampering, influencing witness(es)!their testimony:
Federal Rules of Evidence such as Rule 615 Witnesses, Article Vl,
lmpeachment of Witnessf witness testimony. barring testimony
18 US Code 1512 (primarily (_b))
People v. Mancilla 250 Ill.App.Sd 353, 620 N.E.Bd l 163 (l‘“ Dist. 1993) -
violation of due process by exerting improper influence .......
ABA Model Rules of Professional Conduct R l.1, 3.3(a)(`3), 3.4(b), 3.4
G€der's v. Unfted S!ates, 425 U.S. 80_. 90 1'1.3 (19?6); Hall' 1-'. C!l’jion Precr'sr'on, 150
F.R.D. 525, 528 (E.D. Pa. 1993)
e.g., Abrrer v. El'h`ot, '?06 N.E.Zd ?65, ?6? (Ohio 1999); S. Rep. No. 108-113 (July
21, 1993), Fairness fn Asbestos Iry'w'y Reso[rr£ion Ac!, at 85-95 (Script Merno
reprinted at 109-31)

Quote 1 & 2 from:
http:ffapps.americanbar.org/litigationjcommitteesftrialpracticefarticles! l 2 l 3 1 l -ethics~
preparation-wimesses-deposition-trial .html

Quote l'

“Witness Preparation Generally

A lawyer has a duty to prepare a witness to testify. This preparation may include
discussion concerning the application of law to the events in issue.But "[a]n attorney
must respect the important ethical distinction between discussing testimony and seeking
improperly to influence it." Geders v. Unften' Stutes, 425 U.S. 80, 90 n.3 (19?6); Hail` v.
Cl'rfton Precision, 150 F.R.D. 525, 528 (E.D. Pa. 1993'). Thus, the prohibition of
counseling or assisting a witness to testify falsely also applies to the influence that an
attomey may have on the substance of a witness's testimony in the preparation
process."An attorney enjoys extensive leeway in preparing a witness to testify truthfully,
but the attorney crosses a line when she influences the witness to alter testimony in a
false or misleading way. " lbana v. Baker 338 F. App‘ x 451fl 465 (5th Cir. 2009) (citing
John S. Applegate, Wimess Preparatr`on, 68 Tex. L. Rev 2?? (1989)) ........... "'

& Quote 2:

"Preparing a witness to give a rehearsed answer is improper if the purpose for doing so is
to mislead the finder of fact or frustrate the inquiring party from obtaining legitimate
discovery. A prime example is the document known as the "Script Memo," which was
inadvertently disclosed by a novice lawyer to defense counsel. and has been the topic of
extensive discussion and debate on the issue of witness coaching. See. e.g., Abner v.
Eh'ior, 106 N.E..'Zd 765, 167 (Ohio 1999}; S. Rep. No. 108-118 (July 21, 1993`), Fa:`raess
fn Asbestos bifij Resol'ut`r’orr Act, at 85-95 (Script Memo reprinted at 109-31); see also
"Witness Preparation Memos Raise Questions about Ethical Limits," 14 Laws. Man. On
Prof‘l Conduct (ABAFBNA) 48 (1993`) {discussing numerous examples, including fn re
Er'drfdge_, 82 N.Y 161 (188{]) (A lawyer‘s duty is to "extract the facts from the witness_.
not to pour them into him_; to learn what the witness does know, not to teach him what he
ought to know."); EEOC` v. Mirsr¢biskr` Motor Mjg. ofArn. fric., No.96-1192 [C`_D_ lll.

Case: 1:17-cv-09071 Document #: 1 Filed: 12/18/17 Page 77 of 91 Page|D #:77

Oct. 23, 199?) ("'[T]he “memory joggers' that Mitsubishi finds so objectionable are
probabiy, in most cases, no more suggestive than Mitsubishi‘s own communications with
its people before a deposition.“_}; Joseph D. Piorkowski Jr., Note._ Professr`onaf Conduc!
and the Preporarion of Wr’tnesses for Tria!.’ Defining the Acceprab[e Limr`rnrr’ons of
Coachr’ng, l Geo. .l. Legal Ethics 39?, 401 (198?) (surveying the law concerning the
practice of suggesting particular words` indicating that lawyers are prohibited only from
attempting to influence the intended meaning of a witness's testimony on a material
issue))."

According to laws and regulations when a witness is tampered with or influenced
by a party (DisuicUCounsel) the opposing party (Parent} can move to strike that witness"s
testimony as it damages or prejudices the case. Parent requests that all of - Cipriano`s
testimony on August 9, 2017 (and - Cipriano’s portion of the transcript from march
2017 Expedited Hearing as well`) be stricken from the record and not considered by the
IHO in rendering her decision. If the IHO preserves the portion of the testimony that is
evidence of the offense and effected testimony that was proof of the influenced testimony
than it should remain on the record in part only (related to the Redirect by Parent where
Parent asked witness if she met with opposing party at lunch upon her arrival that day &
the portions of testimony that reference Isolated Timeout clarifications or other such
references in Distict`s "'Cross"') and IHO should not consider the testimony of -
Cipriano in any way in weighing the evidence ot`the case and issuing her Decision.

CONCLUSION

IHO should find that District)'District Counsel has influenced Witness(cs_) and
tampered with Witness(es), identified to date as Witness - Cipriano1 and IHO should
now Strike - Cipriano`s entire testimony and transcript from both Hearings and take
whatever action the IHO deems suitable
Filed August ]1, 2017 Respectful]_v Suhmitted,

fS!‘ Susan Kutfner

Susan Kuttner

Motver of _

866-15 1-62 33

  

Roialrealestatelllin`)vahoo.com

CERTIF[CATE OF SERVICE
l hereby certify that on August 11_. 201?, l delivered to IHO_ and District`s
Counsel on the record at the Due Proeess Hearing, a copy of this MOTION TO STRIKE
ALL TESTlMoNv or - CrPalANo. rsr susan Kutmer

Susan Kuttner

Case: 1:17-cv-09071 Document #: 1 Filed: 12/18/17 Page 78 of 91 Page|D #:78

 

lllinois

Compi|ation of School
Discipline Laws and
Regulations

Prepared: January 31, 2017

3 (61

Case: 1:17-cv-O9071 Document #: 1 Filed: 12/18/17 Page 79 of 91 Page|D #:79

(h} School officials shall not advise or encourage students to drop cut voluntarily due to behavioral or
academic difficulties

(i) A student may not be issued a monetary hne or fee as a disciplinary consequence though this shall
not preclude requiring a student to provide restitution for lost, stolen, or damaged property.

(j) Subsections (a} through (i} of this Section shall apply to elementary and secondary schools, charter
schools, special charter districts, and school districts organized under Article 34 of this Code.

REGULAT|ONS
No relevant regulations found.

|n school suspension

LAWS

105 lLCS 511 33-20.5. E|i ible activities and services

 

E|igib|e activities and services Alternative learning opportunities programs may lnctude without limitation
evening high school, in-school tutoring and mentoring programs. in-schcol suspension programs, high
school completion programs to assist high school dropouts in completing their education. support
services, parental involvement programs, and programs to develcp. enhance. or extend the transition for
students transferring back to the regular school program, an adult education program, or a post-
secondary education program.

REGULAT|ONS
No relevant regulations found.

Return to school following removal
LAws

§ 105 ILCS 5110-22.6. Susgension or expulsion of pu_@s; school searchesl

(g) A school district may adopt a policy providing that if a student is suspended or expelled for any reason
from any public or private school in this or any other state, the student must complete the entire term of
the suspension or expulsion in an alternative school program under Articte 13A of this Code or an
alternative learning opportunities program under Article 13B ot this Code before being admitted into the
school district if there is no threat to the safety of students or staff in the alternative program.

REGULAT|ONS
No relevant regulations found

Use of restraint and seclusion
LAws

§ 105 lLCS 512-3.130. Time out and gh!sical restraint rules.

The State Board of Education shall promulgate rules governing the use of time out and physical restraint
in the public schools. The rules shall include provisions governing recordkeeping that is required when
physical restraint or more restrictive forms of time out are used

lllinois Cornpilation of School Discipline Laws and Regulations Page 20

Case: 1:17-Cv-09071 Document #: 1 Filed: 12/18/17 Page 80 of 91 PagelD #:80

105 lLCS 5i10-20.33. Time out and h sical restraint.

Until rules are adopted under Section 2-3.130 of this Code, the use of any of the following rooms or
enclosures for time out purposes is prohibited;

(1) a locked room other than one with a locking mechanism that engages only when a key or handle is
being held by a persori:

(2) a confining space such as a closet or box;
(3) a room where the student cannot be continually observed; or

(4) any other room or enclosure or time out procedure that is contrary to current guidelines of the State
Board of Education.

The use of physical restraints is prohibited except When (i) the student poses a physical risk to himself.
herself, or others. (ii) there is no medical contraindication to its use\ and (iii) the staff applying the restraint
have been trained in its safe application For the purposes of this Section. "restraint" does not include
momentary periods of physical restriction by direct person-to-person contact, without the aid of material or
mechanical devices, accomplished with limited force and that are designed (i) to prevent a student from
completing an act that would result in potential physical harm to himse|f. herself, or another or damage to
property or {ii) to remove a disruptive student who is unwilling to voluntarily leave the area. The use of
physical restraints that meet the requirements of this Section may be included in a student's individualized
education plan where deemed appropriate by the student's individualized education plan team. Whenever
physical restraints are used, school personnel shall fully document the incident, including the events
leading up to the incident, the type of restraint used, the length of time the student is restrained, and the
staff involved The parents or guardian of a student shall be informed whenever physical restraints are
used.

§ 105 lLCS 5!34-18.20. Time out and physical restraint.

Until rules are adopted under Section 2-3.130 of this Code, the use of any of the following rooms or
enclosures for time out purposes is prohibited:

(1) a locked room other than one with a locking mechanism that engages only when a key or handle is
being held by a person;

(2) a confining space such as a closet or box:
(3) a room where the student cannot be continually observed: or

(4] any other room or enclosure or time out procedure that is contrary to current guidelines of the State
Board of Education. The use of physical restraints is prohibited except when (i) the student poses a
physical risk to himsetf, herself. or others, (ii) there is no medical contraindication to its use, and (iii] the
staff applying the restraint have been trained in its safe application For the purposes of this Section,
"restraint" does not include momentary periods of physical restriction by direct person-to-person
contact, without the aid of material or mechanical devices. accomplished with limited force and that are
designed (i) to prevent a student from completing an act that would result in potential physical harm to
himse|f, herself, or another or damage to property or (ii) to remove a disruptive student who is unwilling
to voluntarily leave the area. The use of physical restraints that meet the requirements of this Section
may be included in a student's individualized education plan where deemed appropriate by the
student's individualized education plan team. Whenever physical restraints are used, school personnel
shall fully document the incident. including the events leading up to the lncident. the type of restraint
used. the length of time the student is restrained, and the staff involved The parents or guardian of a
student shall be informed whenever physical restraints are used.

illinois Compilation of School Discipline Laws and Regulations Page 21

Case: 1:17-Cv-09071 Document #: 1 Filed: 12/18/17 Page 81 of 91 PagelD #:81

REGULAT|ONS

1.280. Discipline

Section 24-24 of the School Code [105 lLCS 5124-24] provides for leachers, other licensed educational
employees (except for individuals holding an educator license with stipulations endorsed for
paraprofessional educator) and persons providing a related service for or with respect to a student as
determined by the board of education to maintain discipline in the schools

c} Any use of isolated time out or physical restraint permitted by a board's policy shall conform to the
requirements of Section 1.285 of this Part. lf isolated time out or physical restraint is to be permitted
the policy shall inciude:

1} the circumstances under which isolated time out or physical restraint will be applied;
2} a written procedure to be followed by staff in cases of isolated time out or physical restraint;

3) designation of a school official who will be informed of incidents and maintain the documentation
required pursuant to Section 1.285 of this Part when isolated time out or physical restraint is used;

4) the process the district or other administrative entity will use to evaluate any incident that results in
an injury that the affected student (or the responsible parent or guardian), staff memberl or other
individual identities as serious;

5) a description of the alternative strategies that will be implemented when determined advisable
pursuant to Section 1.285(1)(4] of this Part; and

6) a description of the districts or other administrative entity's annual review of the use of isolated time
out or physical restraint, which shall include at least:

A) the number of incidents involving the use of these interventions
B) the location and duration of each incidentl

C] identincation of the staff members who were involved.

D) any injuries or property damage that occurred, and

E) the timeliness of parental notification and administrative review.

d} in addition to. or as part ofl its policy on the maintenance of discipline, each board of education shall
adopt policies and procedures regarding the use of behavioral interventions for students with disabilities
who require intervention Each board's policies and procedures shall conform to the requirements of
Section 14-8.05(c) of the School Code [105 |LCS 5114-8.05(0)).

1.285. Reqt_iirement_s for the use of isolated time out and ghysica| restraint.

 

isolated time out and physical restraint as defined in this Section shall be used only as means of
maintaining discipline in schools (that is, as means of maintaining a safe and orderly environment for
learning) and only to the extent that they are necessary to preserve the safety of students and others.
Neither isolated time out nor physical restraint shall be used in administering discipline to individual
students, i_e., as a form of punishment Nothing in this Section or in Section 1.280 of this Part shall be
construed as regulating the restriction of students' movement when that restriction is for a purpose other
than the maintenance of an orderly environment (e.g., the appropriate use ot safety belts in vehicles).

a) "lso|ated time out" means the confinement of a student in a time-out room or some other enclosure.
whether within or outside the classroom, from which the student's egress is restricted. The use of
isolated time out shall be subject to the following requirements

1)Any enclosure used for isolated time out shal|:

illinois Compilation of School Discipline Laws and Regulations Page 22

Case: 1:17-cv-O9071 Document #: 1 Filed: 12/18/17 Page 82 of 91 PagelD #:82

A) have the same ceiling height as the surrounding room or rooms and be large enough to

accommodate not only the student being isolated but also any other individual who is required to
accompany that student

B) be constructed of materials that cannot be used by students to harm themselves or others. be

free of electrical outlets exposed wiring, and other objects that could be used by students to harm
themselves or others and be designed so that students cannot climb up the walls (inc|uding walls
far enough apart so as not to offer the student being isolated sufficient leverage for climbing]; and

C) be designed to permit continuous visual monitoring of and communication with the student.

2) lf an enclosure used for isolated time out is fitted with a door. either a steel door or a wooden door

of solid-core construction shall be used. lf the door includes a viewing pane|. the panel shall be
unbreakab|e.

3) An adult who is responsible for supervising the student shall remain within two feet of the
enclosure

4) The adult responsible for supervising the student must be able to see the student at all times. |f a
locking mechanism is used on the enclosure, the mechanism shall be constructed so that it will
engage only when a key. hand|e. knob. or other similar device is being held in position by a person,
unless the mechanism is an electrically or electronically controlled one that is automatically released
when the building's tire alarm system is triggered Upon release of the locking mechanism by the
supervising adult, the door must be able to be opened readi|y.

b) "Physica| restraint" means holding a student or otherwise restricting his or her movements "F'hysical
restraint" as permitted pursuant to this Section includes only the use of specitic, planned techniques
(e.g.. the "basket hold" and "team controi").

c) The requirements set forth in subsections (d) through (h) of this Section shall not apply to the actions
described in this subsection (c) because. pursuant to Section 10-20_33 of the School Code [105 lLCS
5.-'10-20.33], "restraint" does not include momentary periods of physical restriction by direct person-to-

person contact, without the aid of material or mechanical devicesl accomplished with limited force and
designed to:

1) prevent a student from completing an act that would result in potential physical harm to himself,
herse|f, or another or damage to property; or

2) remove a disruptive student who is unwilling to leave the area voluntarily.
d} The use of physical restraint shall he subject to the following requirements
1) Pursuant to Section 10-20.33 of the School Code. physical restraint may only be employed when:
A) the student poses a physical risk to himse|f, herseif, or others
B) there is no medical contraindication to its use, and

C) the staff applying the restraint have been trained in its safe application as specified in subsection
(h)(2) of this Section.

2) Students shall not be subjected to physical restraint for using profanity or other verbal displays of
disrespect for themselves or others A verbal threat shall not be considered as constituting a physical
danger unless a Student also demonstrates a means of or intent to carry out the threat.

3) Except as permitted by the administrative rules of another State agency operating or licensing a
facility in which elementary or secondary educational services are provided (e.g.. the illinois
Department of Corrections or the illinois Department of Human Services). mechanical or chemical

restraint (i.e., the use of any device other than personal physical force to restrict the limbs. head, or
body) shall not be employed

lllinois Compilation of School Discipline Laws and Regulations Page 23

Case: 1:17-cv-O9071 Document #: 1 Filed: 12/18/17 Page 83 of 91 PagelD #:83

4`) Medical|y prescribed restraint procedures employed for the treatment of a physical disorder or for
the immobilization of a person in connection with a medical or surgical procedure shall not be used as
means of physical restraint for purposes of maintaining discipline

5) Any application of physical restraint shall take into consideration the safety and security of the
student Further. physical restraint shall not rely upon pain as an intentional method of contro|.

6] ln determining whether a student who is being physically restrained should be removed from the
area where the restraint was initiated, the supervising adult shall consider the potential for injury to
the student, the student's need for privacy. and the educational and emotional well-being of other
students iri the vicinity.

?') lt physical restraint is imposed upon a student whose primary mode of communication is sign
language or an augmentative mode, the student shall be permitted to have his or her hands free of
restraint for brief periods unless the supervising adult determines that this freedom appears likely to
result in harm to the student or others

e] Time Limits
1)A student shall not be kept in isolated time out for longer than is therapeutica|ly necessary, which

shall not be for more than 30 minutes after he or she ceases presenting the specific behavior for

which isolated time out was imposed or any other behavior for which it would be an appropriate
intervention

2] A student shall be released from physical restraint immediately upon a determination by the staff
member administering the restraint that the student is no longer in imminent danger of causing
physical harm to himseif. herself. or others

ii Documentation and Evaluation

1}A written record of each episode of isolated time out or physical restraint shall be maintained in the
student's temporary record. The official designated pursuant to Section 1.280{c)(3) of this Part shall
also maintain a copy of each of these records Each record shall include:

A) the student's name;

B) the date of the incident;

C) the beginning and ending times of the incident

D) a description of any relevant events leading up to the incident

E} a description of any interventions used prior to the implementation of isolated lime out or physical
restraint

F) a description of the incident and!or student behavior that resulted in isolated time out or physical
restraint;

G) a log of the student's behavior in isolated time out or during physical restraint, including a
description of the restraint techniques used and any other interaction between the student and staff‘,

H] a description of any injuries (whether to students staff. or others) or property damage;
i} a description of any planned approach to dealing with the student's behavior in the future;

J) a list of the school personnel who participated in the implementationl monitoring, and supervision
of isolated time out or physical restraint

K) the date on which parental notincation took place as required by subsection [g) of this Section.

2} The school official designated pursuant to Section 1,280(c){3) of this Part shall be notihed of the
incident as soon as possible. but no later than the end of the school day on which it occurred

3) The record described in subsection (f}(1) of this Section shall be completed by the beginning of the
school day following the episode of isolated time out or physical restraint

illinois Compilation of School Discipline Laws and Regulations Page 24

Case: 1:17-cv-O9071 Document #: 1 Filed: 12/18/17 Page 84 of 91 PagelD #:84

4) The requirements of this subsection (f)(4} shall apply whenever an episode of isolated time out
exceeds 30 minutes an episode of physical restraint exceeds 15 minutes. or repeated episodes have
occurred during any three-hour period

A} A licensed educator knowledgeable about the use of isolated time out or trained in the use of
physical restraint, as applicab|e, shall evaluate the situation

El} The evaluation shall consider the appropriateness of continuing the procedure in use. including
the student's potential need for medication nourishment, or use of a restroom. and the need for
alternate strategies (e.g.. assessment by a mental health crisis team, assistance from police, or
transportation by ambulance)_

Cl The results of the evaluation shall be committed to writing and copies of this documentation shall
be placed into the student's temporary student record and provided to the ochia| designated
pursuant to Section 1.280(c}(3) of this Part.

5) When a student has nrst experienced three instances of isolated time out or physical restraint, the
school personnel who initiated, monitored and supervised the incidents shall initiate a review of the
effectiveness of the procedures used and prepare an individual behavior plan for the student that
provides either for continued use of these interventions or for the use of other. specified interventions
The plan shall be placed into the student‘s temporary student record The review shall also consider
the student's potential need for an alternative program or for special education

A) The district or other entity serving the student shall invite the student's parents or guardians to
participate in this review and shall provide ten days‘ notice of its date, time, and locations

B) The notification shall inform the parents or guardians that the student's potential need for special
education or an alternative program will be considered and that the results of the review will be
entered into the temporary student record.

g) Notification to Parents

llA district whose policies on the maintenance of discipline include the use of isolated time out or
physical restraint shall notify parents to this effect as part of the information distributed annually or

upon enrollment pursuant to Sections 10-20.14 and 14-8.05(c) of the School Code 1105 |LCS 5.-‘10-
20.14 and 14-8,05(0]].

2} Within 24 hours after any use of isolated time out or physical restraint, the school district or other
entity serving the student shall send written notice of the incident to the student's parents, unless the
parent has provided the district or other entity with a written waiver of this requirement for notification
The notihcation shall include the student's namel the date of the incident_ a description of the
intervention used. and the name of a contact person with a telephone number to be called for further
information

h) Requirements for Training

1) isolated Time Out. Each district cooperativel orjoint agreement whose policy permits the use of
isolated time out shall provide orientation to its staff members covering at least the written procedure
established pursuant to Section 1 .280(c)(2) of this Part.

2) Physical Restraint

A) Physical restraint as defined in this Section shall be applied only by individuals who have
received systematic training that includes all the elements described in subsection (h)[2)(F_l} of this
Section and who have received a certificate of completion or other written evidence of participation
An individual who applies physical restraint shall use only techniques in which he or she has
received training within the preceding two years as indicated by written evidence of participation

illinois Compilation of School Discipline Laws and Regulations Page 25

 

Case: 1:17-cv-09071 Document #: 1 Filed: 12/18/17 Page 85 of 91 Page|D #:85

B] Training with respect to physical restraint may be provided either by the employer or by an
extemai entity and shall lnctudo, but need not be limited to:

l) appropriate procedures for preventing the need for physical resu'alnt, including the drs-escalation
of problematic behavior, relationship-building and the use ot alternatives to restraint

ll) a description and identification of dangerous behaviors on the part of students that may indicate
the need for physlao| restraint and methods for evaluating the risk of harm in individual situations
ln order to detenntne whether the use of restraint ls warranted;

iil) the simulated experience of administering and receiving a variety ct physical restraint
techniques ranging from minimal physical involvement to very controlling intorvantions;

iv) instruction regarding the effects of physical restraint on the person restrained, inducing
instruction on monitoan physical signs of distress and obtaining medical assistance;

v) instrucdon regarding documentation and reporting requirements and investigation of injuries
and complaints; and

vl} demonstration by participants of proficiency in adminlswdng physical restraint

C) An individual may provide training to others in a particular method of physical restraint only if he

or she has received written evidence of completing training in that technique that meets the

requirements ot subsection (h)(2)(B) ot this Section within the preceding one-year period.
r____-'_-_¢_‘I--_-_\`_

Alternative placements

 

`lo establish projects to alter modified instructional programs or other services designed to prevent
students from dropping out of school. including programs pursuant to Section 2-3. 41, end to serve as a
part time or tull time option |n lieu of regular school attendance and to award grants to local school
dtstrlcls. educational service regions cr community college districts from appropriated funds to assist
districts |n establishing such projects The education agency may operate its own program or enter into a
contract with another not-for-proflt entity to implement the program. The projects shall allow dropoutsl up
to and including age 21. potential dropouts, including truants. unlnvoived. unmotlvated and dla-flouted
students. as defined by State Board of Education niles and regulations, to enroll. as en alternative to
regular school altendance. ln an optional education program which may be established by school board
policy and ls in confonnanoe with rules adopted by the State Board of Education. Tn.lants' Atternative and
Optlona| Education programs funded pursuant to this Section shall be planned by a swdent. the student's
parents or legal guart‘.'lrlrnsl unless the student ts 18 years or older. and scl'rool otliciais and shall
culminate in an individualized optional education plan. Such plan shall focus on academic or vocational
skills. or both. and may inolude. but not be limited to, evening school. summer school. community college
courses, adult education. preparation courses for high school equivalency testing, vocational training,
work experience programs to enhance sell concept and patenting oourses. School districts which aro
awarded grants pursuant to this Section shall bo authorized to provide day care services to children of
students who are eligible and desire to enroll in programs established and funded under this Section. but
only lt and to the extent that such day care ls necessary to enable those eligible students to attend and
participate in the programs and courses which are conducted pursuant to this Section. School districts
and regional offices of education may claim general State aid under Section 18-8.05 for students enrolled
in truants' alternative and optional education programs. provided that such students are receiving services
that are supplemental to a program leading to a high school diploma and are otherwise eligible to be
claimed for general State aid under Section 18-8.05,

illinois Compilation of School Discipline Laws and Regulations Page 26

 

l
Prwt`Wl-ndow Case: 1:17-Cv-09071 Document #: 1 Filed: 12/1M:Mg§o§§°9;§/@M%§me“mw$gm

subject Re: -J2016~0213: parent's subpoenas and questions

 

From: roya|realestatelo@yahoo.com

T°= _

cd w*
Date: Tuesday, Ju|y 25, 2017. 1:22:32 F;M _CDT

 

 

We did go through most of the witnesses for hearing that | put on subpoenas They are not current current
employeesl _were approved witnesses and | thought*was approvedl #s 3-6 below are the

* that were all approved at Preheadng. so all 7 listed below and
other non emp oyees should be tssued. | dldn‘t ask for any unapproved subpoenas As foo-she needs a

subpoena for her jo_§(_sl__p_l_§_e_se.__

 

'-r="* :.‘. _ __________ -....._._, .._
. ___ . .

l

l

s l h
____*.w___'
l

i
Susan __-`-"_`_`_`

Sent from my iPhone

on Jul 25. 2017, at 11:04 AM,-mte:

Dear Hearing Ofiicer¢_:

 

The District is in agreement with your position that good cause has not been demonstrated for
subpoenas for each of the witnesses in Ms. Kuttner's proposed subpoena list. Specitioa||y, the
District objects to subpoenas being issued for the following individua|s:

- v

r"\

l

 

 

 

 

Ai| other individuals listed on Ms. Kuttner's subpoenas are former District employees and must be

l of4 l l 121'17{201?, 12:38 PN.

 

 

 

t
Case: 1:17-Cv-09071 Document #: 1 Filed: 12/18/17 Page 87 of 91 Page|D #:87
https:fl‘mail.yahoo.comfdfsoarch/keyword=tang/messaged$§§%

Print Window

subpoenaed to testify tn the hearing.

 

 

,_

Thanks, j
l_

 

 

 

*- -'-'_ '
<imageDO1.jpg>

This message is confidential `l'hls message may also be prlv||eged or protected by work product |mmuntty or other laws and
regulations lt you have received lt by mlstetce, please re-send this oornmunlcstlm to the sender end delete it from your system

wtthout copying lt or disclosing tts contents to anyone.

me=quaeu_
Tuesday, duly 5, 2017 8:24 AM

l Sent:

2 0f4 l2l'1'71"2017, 12:38 PM

 

i.

Prwt'Wmdnw Case: 1:17-Cv-09071 Document #: 1 Filed: 12/184&;:}?£§§“§§0%%§§@§@#&§&@me599%

 

lt le not my recollection that we discussed each of these proposed witnesses needing a subpoena. Thare
must a good cause showing for a subpoena request made in writing, so l need to know why each person
requires a subpoena You do NOT need to subpoena district employees as the district must produce those
people. and several people on your list are district employees.- appeared before - why does she
need a subpoena this time? We did discu:Wat the phc. but the other people are not on your list that
we reviewed et the phc, so l do not know ere are or wh they are being called to testify. t will not issue
subpoenas for people we have not reviewed and discussed _doos the district have
objections to any of these requests?

 

_ -_--.__ , __ :-""1_
\__»_-_l- \-*l-°"T'¢_p-.€"-»-

..» ¢

_ _'.._. ._. --v

 

 

 

 

 

l think that addresses one of your quastions, Ms. Kuttner.

 

l impartial Hearing Otttcer

} Coneistent with the Electronic Communications Pr,vacy Act (18 USC 2510 et seq.), this email may contain
material that is confrdentiai, privileged andfor attorney work product for the sole use of the intended recipient
An y review, reliance or distributio by others or forwarding without express permission is strictly prohibited if
you are not the linth mch . please contact the sender and delete all copies

l<

3 of4 12/17!2017. 12:38 PM

 

mtwindow Case: 1:17-Cv-09071 Document #: 1 Filed: 12/18£¥$:,|§;£1§§¥§30(.)1‘ SB}I‘_~_‘Ps a |é)y§;:)§£phdm ,59955

subject FW: -- PHC Report Review

FFO"`!! ~
TG: ih"
Cc: royalrealestatelO@yahoo.com;_

D_a*t_e:H Tyesday. July 25. 2017, 3:55:46 PM CDT

 

Dear Hearing Ofticer_

As a follow up to my email below, the District would like the attached list of your rulings on the District‘s
objections to those individuals listed on Ms. Kuttner’s witness list to be added to the pre-hearing conference
report in order to ensure olarlty. Shou|d you have any questions please let me know.

Thanks,

*
_
Atlaorney

.-.-_- ms »
-¢ Nv r_-_.~\_q.-_”.w .. .,¢ _l.- . ‘_ _,. - ¢¢

'\.» '

 

'1 of4 12)'17)'20!7, 12:49 PM

 

 

`. -'

Case: 1:17-Cv-09071 Document #: 1 Filed: 12/18/17 Page 90 of 91 Page|D #:90
_H

!

tire-Hearing Conference Surnrngg g P§Ent's Proposed Wlmess Llst and
Hearing 0ffioer’s Rullngs on District's Ob[ectlons

N_=rm.otmtnm tia rR lln=Al

Allowed
Allowed
Al|owed
Susta'tned
Sustalned
Allowed
Sustained
Sustalned
Sustained
Sustalned
Sustalned
Sustalned
Allowed
Sustainad
Al|owed
A|lowed
A|lowed
Allowed
Aiiowed
A||owed
No
A||owed
Allowed
A|lowed
Allowed but must testify in

A|lowed
Allowed
A|lowed
Allowed
Mtowed
Aiiowed
Allowed
Allowed
Allowed
Altowed
A|lowed
Allowed
Allowed

\?

 

 

”
_ Case; 1;1Z-Qy-Q9Q21 Document #: 1 Filed: 12/18/17 Page 91 of 91 Page|D #:91

 

39' No oh
4°' sustained
41! No
‘2' District
43' District
44. District
45» D|strict
46. - Distrlct
41 District
43‘ oism¢:t
49,. District
5°» District
51- District
521 seem
53- District
54- District
55. District
56. District
571 Allowed
58.
59. Sustalned
60. Sustalned
51. Sustalned
Allowed

63. Sustained
54. Regional th`ce of Education' Al|owed

 

l wit-messrs .‘
* bid m~l' P¢ppear~ under Jaloyoem

(Fomer~ EMP|°$€"")

_ __' - 1- chDr/Ub`i' Pro¢uc a
`/ `b'd{'£:rr;-r bis+rio'f 5'"|9'°~9”‘

 

